Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 1 of 52 Page ID #:6




        EXHIBIT 1
  Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 2 of 52 Page ID #:7
          Electronically Filed by Superior Court of California, County of Orange, 04/29/2022 10:00:34 AM.
30-2022-01 57143-CU-BC-WJC - ROA # 2 - DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.



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        7
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
        8
                                            FOR THE COUNTY OF ORANGE
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      10
             CROWN VALLEY HOLDINGS, LLC, a                       CASE NO. 30-2022-01257143-CU-BC-WJC
      11     Delaware Limited Liability Company,

      12                           Plaintiffs,                   COMPLAINT
             v.
      13
             AMCO INSURANCE COMPANY, an Iowa                              Assigned for All Purposes
      14     Corporation; DOES 1 - 50, Inclusive,
                                                                         Judge Walter Schwarrn
      15                                   Defendants.

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                                                     COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 3 of 52 Page ID #:8




    1           Plaintiff Crown Valley Holdings, LLC ("Crown Valley" or "Insured") alleges as

    2   follows:

    3                                           INTRODUCTION

    4           1.     This case arises from the breach by defendant AMCO Insurance Company

    5   ("AMCO") of its duty to defend its Insured in the consolidated lawsuit titled Stars and Bars, LLC

    6   v. Westport Capital Partners, LLC, et al., Case No. 30-2017-00926590-CU-BC-CJC

    7   (consolidated with Case No. 30-2017-00926598-CU-PO-CJC) (the "Underlying Action").

    8          2.      The crux of this case is that — even after promising to defend and indemnify

    9   Insured — AMCO failed to live up to its obligations by putting the squeeze on and exerting control

   10   over the defense. AMCO failed to fund the defense, and then — on the eve of trial, after Insured

   11   demanded AMCO settle within policy limits — AMCO pulled the rug out from under Insured by

   12   withdrawing the indemnity AMCO had promised, in an attempt to justify its refusal to settle the

   13   Underlying Action. This caused Insured to incur millions of dollars in fees and costs to defend

   14   itself from a potential $10 million judgment in the Underlying Action. Then, to cover its tracks,

   15   AMCO interfered with Insured's attorney-client and fiduciary relationships and ordered the

   16   defense counsel it retained to withhold Insured's client files — the very files that would show

   17   AMCO's breaches and wrongdoing.

   18          3.      By way of background, in Case No. 30-2017-00926598-CU-PO-CJC (the "Grease

   19   Line Case"), AMCO unconditionally agreed to both defend and indemnify Insured, without

   20   reservation, pursuant to an insurance policy to which Insured is an additional insured, providing

   21   up to $5,000,000 in coverage, inclusive of excess coverage. By letter dated May 30, 2018,

   22   AMCO's agent stated "[AMCO] has accepted the tender of defense of Crown Valley Holdings,

   23   LLC..." and appointed defense counsel to represent it.

   24          4.      After the Grease Line Case was consolidated with Case No. 30-2017-00926590-

   25   CU-BC-CJC (the "Fence Case"), AMCO continued to defend Insured in the Underlying Action,

   26   in full, but issued a reservation of rights solely with respect to the Fence Case. Nevertheless,

   27   AMCO unequivocally stated that it was still indemnifying Insured in the Grease Line Case,

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                                                  COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 4 of 52 Page ID #:9




    1   without qualification, stating: "On or around January 12, 2018, AMCO accepted the tender for

    2   claims asserted in the Negligence Action [i.e., the Grease Line Case] without reservation."

    3          5.      Since Insured's coverage was approximately $5,000,000, and AMCO stated it was

    4   indemnifying Insured "without reservation", Insured relied on the defense provided by AMCO for

    5   the first three (3) years of the Underlying Action. However, in mid-2020, Insured became aware

    6   that the case was dragging on with virtually no progress, and that the plaintiff in the Underlying

    7   Action, Stars and Bars, LLC ("S&B"), was naming actual and suspected passive investors in

    8   Insured as new defendants to the uninsured claims in the Fence Case with no basis.

    9          6.      The Underlying Action appeared to Insured to be getting out of hand. It had

   10   dragged out for more than three (3) years and little to no progress had been made — even in

   11   conducting the most basic discovery. Thus, Insured retained Shumener, Odson & Oh LLP

   12   ("SOO") as its counsel in the Underlying Action to oversee the matter and represent the new

   13   defendants as to the uninsured claims.

   14          7.      To Insured's surprise, not a single deposition in the Underlying Action had

   15   been taken for nearly three (3) years of the lawsuit — the first substantial deposition occurred

   16   in late-February 2020. The next deposition did not occur until six months later, August 2020,

   17   after SOO was retained. Indeed, AMCO's defense counsel did not even visit the site at issue in

   18   the Underlying Action until late-2020 — three and one half (3 12/ ) years into the lawsuit. The

   19   failure to conduct discovery or even visit the site, and other delays in the defense of S&B's

   20   claims, was due to the rigid limitations placed on the defense by AMCO. Insured is informed and

   21   believes that these limitations are a standard business practice of AMCO in its management of

   22   litigation defense. Thus, Insured was forced to retain SOO — at its own out-of-pocket expense —

   23   to properly pursue and fund the defense.

   24          8.      Then, in the days leading up to trial, AMCO had the opportunity to settle the

   25   Underlying Action within policy limits — for less than $2 million. But, before AMCO would

   26   even entertain settlement, AMCO demanded Crown Valley contribute $1 million of its own

   27   property — a $1 million judgment lien it possessed against S&B — despite AMCO's

   28   representation, promise and obligation to defend and indemnify Insured. Such demand
                                                        -3-
                                                   COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 5 of 52 Page ID #:10




    1   constituted bad faith and was for the sole benefit of AMCO and AMCO's other insureds. Worse,

    2   even after Insured agreed to contribute the $1 million judgment lien, AMCO agreed to offer only

    3   $100,000 to the settlement — ten (10) times less than the amount AMCO demanded Crown

    4   Valley contribute. Thus, contrary to AMCO's representation, promise and obligation to defend

    5   and indemnify Insured, AMCO schemed to shift the cost of both the litigation and any potential

    6   settlement to Insured.

    7           9.      Given that AMCO's own defense lawyers estimated that there was a 75% to 80%

    8   chance that Insured would be found liable for some amount in the Underlying Action, AMCO's

    9   offer was grossly unreasonable. If Insured was found liable — as AMCO's own lawyers predicted

   10   — this would lead to an award of attorneys' fees which was estimated to exceed $2 million, even

   11   before trial. In attempting to justify its bad faith settlement behavior, and at the eve of trial,

   12   AMCO suddenly stated it would not indemnify Insuredfor attorneys' fees awarded to S&B —

   13   thereby reneging on its commitment to indemnify Insured without reservation.

   14          10.      This came as a shock to Insured, as a large amount of the exposure to Insured was

   15   S&B's alleged attorneys' fees — and AMCO had never made any reservation with respect to

   16   attorneys' fees and costs in the Grease Line Case up to this point.

   17          11.      Thus, AMCO's bad faith reversal forced Insured to incur significant trial costs to

   18   defend itself against all claims or face a seven-figure attorneys' fees award in the Grease Line

   19   Case. Even though Insured had been relying on the defense counsel retained by AMCO to

   20   prepare for trial, after AMCO pulled the rug out from under Insured, Insured could not risk the

   21   potential exposure that AMCO now would not cover.

   22          12.     In doing this, SOO discovered that virtually none of the essential trial preparation

   23   work had been conducted by the counsel retained by AMCO, due to the rigid financial constraints

   24   imposed by AMCO. As such, it was SOO — at Insured's personal cost — not AMCO's defense

   25   counsel, that (i) prepared virtually all of the substantive Motions in Limine, (ii) reviewed the

   26   130,000 pages of documents produced by S&B, (iii) prepared the more than 600 trial exhibits on

   27   behalf of all defendants (including sifting through the 130,000 page production to find the key

   28   documents), (iv) prepared and negotiated the jury instructions and verdict forms with S&B, and
                                                          -4-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 6 of 52 Page ID #:11




    1   (v) prepared virtually all of the key witness outlines for direct and cross examination, including

    2   all of the direct examination outlines for Insured's client-witnesses and even the majority of the

    3   cross-examination outline for the key opposing witness, Brian Roche. AMCO was unjustly

    4   enriched by this work.

    5          13.     Then, in the middle of jury selection — potentially due to the burden and stress

    6   caused by AMCO's unreasonable restraints — the lead trial counsel retained by AMCO suffered

    7   an apparent stress-related medical emergency that caused him to have to withdraw from the trial

    8   and take medical leave.

    9          14.     After the withdrawal of that counsel, the Court inquired why Insured would need a

   10   trial continuance — because surely the counsel retained by AMCO had prepared witness outlines

   11   and an outline of the opening statement that another attorney could use to quickly step up.

   12          15.     Not a single witness outline or outline of the opening statement had been

   13   prepared by the counsel retained by AMCO up to the date of the medical emergency, due to

   14   the unreasonable constraints that AMCO put on defense counsel. This caused Insured to

   15   scramble and incur further substantial costs to have SOO prepare the materials that AMCO

   16   should have authorized its counsel to prepare months before that incident, as competent trial

   17   counsel would have done.

   18          16.     Finally, confirming that AMCO utterly failed to fund the defense, Insured was

   19   forced to pay — out of its own pockets — essential litigation and trial costs, including the cost of

   20   necessary depositions/transcripts, daily trial transcripts, the cost of printing required Court copies

   21   of deposition and trial transcripts for use by the Court at trial, and paying fees associated with the

   22   court reporter at trial — all of which AMCO was required to pay as part of its duty to defend

   23   Insured and fund the litigation and which AMCO failed and refused to pay.

   24          17.     Ultimately, due to Insured's mitigation and the substantial costs incurred by

   25   Insured, a judgment against Insured was averted. Without the substantial costs incurred by

   26   Insured, a verdict in its favor would not have been realized. Thus, AMCO was substantially and

   27   unjustly enriched by Insured.

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                                                         -5-
                                                   COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 7 of 52 Page ID #:12




    1           18.     To cover its tracks, AMCO continued to interfere with Insured's rights even after a

    2   favorable verdict was rendered. When Insured sought to obtain documents in its client files from

    3   the defense counsel retained by AMCO, AMCO interfered and caused the defense counsel not to

    4   turn over the client files, violating fiduciary duties owed to Insured. Thus, AMCO not only

    5   controlled and constrained the defense, but interfered with Insured's fiduciary relationships. As

    6   AMCO's conduct demonstrates, Insured was not defended by AMCO; the defense counsel

    7   retained by AMCO represented AMCO — not Insured.

    8           19.     In sum, Insured was forced to expend no less than $3,176,237.25 in attorneys' fees

    9   and $115,000 in trial related costs — to defend itself from a $10,000,000 claim — all of which

   10   could have been avoided had AMCO fulfilled its obligation to defend Insured or otherwise settle

   11   the Underlying Action within policy limits. Instead, AMCO breached its obligation to defend

   12   Insured, interfered with Insured's attorney-client relationships, and withdrew its indemnity in bad

   13   faith on the eve of trial.

   14                                               PARTIES

   15           20.     Plaintiff Crown Valley Holdings, LLC ("Crown Valley" or "Insured") is, and at

   16   all times relevant herein was, a Delaware limited liability company, qualified to do business in

   17   California, and which conducts business in Orange County, California.

   18           21.     On information and belief, defendant AMCO Insurance Company ("AMCO"),

   19   which is also referred to as Nationwide Insurance Company, is, and at all times relevant herein

   20   was, an Iowa corporation, qualified to do business in California, which conducts business in

   21   Orange County, California. AMCO accepted the tender of defense and indemnity in the

   22   Underlying Action, which was pending in Orange County, California. Thus, the acts or

   23   omissions relevant to this action took place in Orange County, California.

   24           22.     Insured is unaware of the true names of defendants sued herein as Does 1 through

   25   50, inclusive, and therefore sue said defendants by such fictitious names. Insured will seek leave

   26   of court to amend this Complaint to allege the true names and capacities of said defendants when

   27   they have been ascertained. Insured is informed and believes, and thereon alleges, that Does 1

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                                                  COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 8 of 52 Page ID #:13




    1   through 50, inclusive, are in some manner responsible for some or all the wrongdoing alleged

    2   herein.

    3             23.   On information and belief, AMCO and Does 1 through 25 have such a unity of

    4   interest that to treat them as separate entities would lead to an inequitable result and injustice.

    5                                     THE UNDERLYING ACTION

    6             24.   The Underlying Action was filed on June 16, 2017. The Underlying Action

    7   consisted of two separate cases — the Grease Line Case and the Fence Case. The Grease Line

    8   Case involved an allegation that a certain grease line was negligently maintained by Insured (and

    9   others), causing harm to S&B, the plaintiff in the Underlying Action. The Fence Case involved

   10   allegations that Insured caused harm to S&B by erecting a fence around S&B's premises or

   11   denying S&B access to a certain storage unit.

   12             25.   On or about January 12, 2018, AMCO accepted the tender of defense with respect

   13   to the Grease Line Case and retained a law firm called Cannon & Nelms, P.C. to represent

   14   Insured, writing in a May 30, 2018 letter: "Nationwide [AMCO] has accepted the tender of

   15   defense of Crown Valley Holdings, LLC ... and is appointing Cannon & Nelms, P.C., as defense

   16   counsel in this matter." AMCO did not reserve rights with respect to this defense or indemnity.

   17             26.   Ultimately, the Grease Line Case and the Fence Case were consolidated.

   18             27.   AMCO then sent Insured a letter on March 24, 2020, confirming that it would

   19   continue to defend Insured in the Underlying Action and that it was indemnifying Insured for the

   20   Grease Line Case — but, that it was reserving rights with respect to the Fence Case. Specifically,

   21   AMCO wrote: "On or around January 12, 2018, AMCO accepted the tender for claims asserted in

   22   the Negligence Action [i.e., the Grease Line Case] without reservation."

   23             28.   Cannon & Nelms, P.C. subsequently withdrew from representation due to a

   24   conflict of interest.

   25             29.   AMCO then hired Murchison & Cumming LLP ("Murchison") to represent

   26   Insured in the Grease Line Case. In the Fence Case, another insurance company had retained the

   27   services of Wood, Smith, Henning & Berman LLP ("WSHB") to represent Insured, and after the

   28   consolidation, AMCO continued the retention of WSHB in the Fence Case.
                                                         -7-
                                                   COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 9 of 52 Page ID #:14




    1           30.     Thus, AMCO retained Murchison and WSHB to represent Insured in the

    2   Underlying Action. Since Insured's insurance coverage, including excess insurance coverage,

    3   was approximately $5,000,000, and AMCO stated it was indemnifying Insured "without

    4   reservation", Insured relied on the defense provided by AMCO for the first three (3) years of the

    5   Underlying Action.

    6          INADEQUATE DEFENSE / BAD FAITH WITHDRAWAL OF INDEMNITY

    7          31.     Notwithstanding the indemnity provided by AMCO, in mid-2020, Insured became

    8   aware that (i) the case was dragging on with virtually no progress for more than three (3) years

    9   with no end in sight, (ii) S&B was suddenly widening the net by naming Insured's actual and

   10   suspected passive investors as new defendants to uninsured claims without basis, and (iii) AMCO

   11   had not settled the Underlying Action even though it had the opportunity to do so well within

   12   policy limits. Thus, Insured retained SOO as its counsel in the Underlying Action to oversee the

   13   matter and represent the new defendants as to the uninsured claims.

   14          32.     Confirming that AMCO had placed a stranglehold on the defense, not a single

   15   deposition in the Underlying Action had been taken for nearly three (3) years of the lawsuit — the

   16   first deposition occurred in late-February 2020. The next deposition did not occur until six (6)

   17   months later, in August 2020, after SOO was retained. In a case that had nearly sixty (60)

   18   witnesses on the trial witness list, the only explanation for the fact that virtually no depositions

   19   had occurred in three (3) years is that AMCO would not approve the expense. Indeed, the

   20   defense counsel hired by AMCO did not even visit the site at issue in the Underlying Action until

   21   about December 2020 — three and one half (3 12
                                                     / ) years into the lawsuit. Thus, Insured was

   22   justifiably concerned about the limitations placed on the defense by AMCO, in addition to the

   23   qualifications of counsel appointed to represent it.

   24          33.     Worse, prior to the time SOO was retained, S&B obtained a copy of a privileged

   25   document. Even though this privileged document was produced concurrently to WSHB and

   26   Murchison in April 2020, they took no steps to claw back the inadvertently disclosed privileged

   27   materials — apparently because they did not know it had been produced until S&B repeatedly used

   28   the document, calling it a "smoking gun". Even after S&B used the "smoking gun", WSHB and
                                                         -8-
                                                   COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 10 of 52 Page ID #:15




     1   Murchison did virtually nothing to stop S&B from using it. It was not until SOO was retained

     2   that Insured was able to take actions to claw back the document and obtain sanctions against

     3   S&B. This failure further shows that AMCO did not authorize WSHB and Murchison to (i)

     4   review documents produced to S&B, and/or (ii) prepare a motion to stop S&B from using a

     5   privileged document, even where that document was allegedly a "smoking gun".

     6          34.     On information and belief, AMCO imposed severe and rigid restraints on the

     7   billing practices and conduct of necessary defense tasks by Murchison and WSHB in the

     8   Underlying Action, thereby hindering the defense and preparation for trial. Insured is informed

     9   and believes that the limitations put on defense counsel activities are a standard business practice

    10   of AMCO in its management of litigation defense. Thus, Insured was forced to retain SOO — at

    11   its own out-of-pocket expense — to properly pursue and fund the defense.

    12          35.     Moreover, AMCO failed to adequately fund the defense. This failure was

    13   evidenced by, among other things, AMCO's refusal to pay for certain certified transcripts,

    14   approve costs for trial support vendors, pay for printing required transcripts for use by the Court

    15   at trial, pay for necessary depositions and transcripts, and even pay certain costs associated with

    16   the Court reporter (an officer of the Court) at trial. Insured was forced to pay many of these costs

    17   — approximately $115,000 — out of pocket to avoid litigation, monetary damages, and damage to

    18   its reputation with reputable vendors and the Court.

    19          36.     Then, in the days leading up to trial, AMCO had the opportunity to settle the

    20   Underlying Action within policy limits — for less than $2 million. In order to even entertain

    21   settlement, AMCO demanded Crown Valley contribute a $1 million judgment lien it possessed

    22   against S&B — i.e., to walk away from $1 million that Crown Valley would have recovered from

    23   any judgment or settlement in the Underlying Action. Such demand was bad faith and was for

    24   the sole benefit of AMCO and AMCO's other insureds. Worse, even after Crown Valley agreed

    25   to contribute the $1 million judgment lien, AMCO agreed to offer only $100,000 to the settlement

    26   — ten (10) times less than the amount AMCO demanded Crown Valley contribute.

    27          37.     AMCO's position was patently unreasonable, given that WSHB (AMCO's own

    28   lawyers) estimated that there was a 75% to 80% chance that Insured would be found liable for
                                                         -9-
                                                   COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 11 of 52 Page ID #:16




     1   some amount in the Underlying Action. If Insured was found liable, as AMCO's own lawyers

     2   predicted, this would lead to an award of attorneys' fees against Insured which was estimated to

     3   exceed $2 million, even before trial. Thus, in attempting to justify its bad faith settlement

     4   behavior, AMCO suddenly stated that it would not indemnify Insured for any attorneys'fees

     5   awarded to S&B in the Grease Line Case — thereby reneging on its commitment to indemnify

     6   Insured without reservation.

     7           38.     This came as a shock to Insured, as a large amount of the exposure to Insured was

     8   S&B's alleged attorneys' fees — and AMCO had never made any reservation with respect to

     9   attorneys' fees and costs in the Grease Line Case up to this point.

    10           39.     Thus, AMCO's bad faith reversal forced Insured to incur significant trial costs to

    11   defend itself from a seven-figure judgment in the Underlying Action. Even though Insured had

    12   been relying on the defense counsel retained by AMCO to prepare for trial, after AMCO pulled

    13   the rug out from under Insured, Insured had no choice but to mitigate its potential harm and take a

    14   more active role at trial.

    15           40.     To that end, in the lead up to trial, due to (i) the lack of competence of the counsel

    16   retained by AMCO to handle the Underlying Action, (ii) the restraints on that counsel placed by

    17   AMCO, and (iii) AMCO's lack of adequate funding for the litigation, little to none of the

    18   necessary trial preparation work was conducted by the counsel retained by AMCO.

    19           41.     As a result, it was SOO — at Insured's personal cost — that (i) prepared virtually all

    20   of the substantive Motions in Limine, (ii) reviewed the 130,000 pages of documents produced by

    21   S&B, (iii) prepared the more than 600 trial exhibits on behalf of all defendants (including sifting

    22   through the 130,000 page production to find the key documents), (iv) prepared and negotiated the

    23   jury instructions and verdict forms with S&B, and (v) prepared virtually all of the key witness

    24   outlines for direct and cross examination, including all of the direct examination outlines for

    25   client-witnesses and even the majority of the cross-examination outline for the key opposing

    26   witness, Brian Roche, among other things. There is no indication that any of this work would

    27   have been timely or properly conducted by the counsel retained by AMCO — and, without this

    28   work, a complete defense verdict could not have been realized.
                                                          -10-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 12 of 52 Page ID #:17




     1           42.    Indeed, in the middle of jury selection — potentially due to a lack of competence or

     2   stress caused by AMCO's unreasonable restraints on the defense — the lead trial counsel retained

     3   by AMCO suffered a stress-related medical emergency that caused him to have to withdraw from

     4   the trial and take medical leave. He only returned on the date the verdict was reached, after the

     5   matter had been submitted to the jury.

     6          43.     After the withdrawal of that counsel, the Court inquired why Insured would need a

     7   trial continuance — because surely the counsel retained by AMCO had prepared witness outlines

     8   and an outline of the opening statement that another attorney could use to "pinch hit".

     9          44.     In response to the Court's question, Murchison's second chair at the trial (and

    10   Murchison's lawyer who attended virtually all depositions in the Underlying Action) argued for a

    11   continuance, admitting that he could not step up and was not competent to handle this sort of trial

    12   — stating that he had only attended two trials in his long career, once in his first year where he

    13   "basically carried the suitcase of the partner" and another ten (10) years prior to the Underlying

    14   Action. The counsel provided by AMCO were simply not competent to handle a 27-court day

    15   jury trial, nor a complex commercial dispute involving complicated issues of contract

    16   interpretation, waiver, and res judicata, as here. Despite the fact that it was AMCO's defense

    17   lawyers who argued for the continuance, and despite the fact that it was AMCO's severe

    18   restraints on the defense that necessitated a continuance, AMCO later attempted to blame SOO

    19   for the requested trial continuance — without basis.

    20          45.     Contrary to the Court's assumptions regarding trial preparation, apparently

    21   due to the restraints on the defense imposed by AMCO, neither Murchison nor WSHB had

    22   prepared a single witness outline or outline of the opening statement up to the date of the

    23   medical emergency that would allow someone to step up and "pinch hit" as indicated by the

    24   Court. This caused Insured to scramble and incur further substantial costs to have SOO prepare

    25   the materials that AMCO should have authorized its counsel to prepare months before that

    26   incident, as competent trial counsel would have done.

    27

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                                                         -11-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 13 of 52 Page ID #:18




     1          46.     On information and belief, AMCO restrained Murchison and WSHB from

     2   preparing these materials in a timely manner, which resulted in a costly scramble on the eve of

     3   trial that was borne by Insured — not AMCO — and put Insured at substantial risk.

     4          47.     In sum, AMCO breached its duties and obligations to Insured by (i) failing to

     5   employ counsel competent to handle the Underlying Action, (ii) failing to provide that counsel

     6   with adequate funds to conduct the defense, (iii) imposing unreasonable restrictions on defense

     7   counsel's actions in defending Insured, (iv) failing to keep abreast of the status so that it could

     8   reasonably and in good faith act on settlement proposals, (v) failing to make a reasonable

     9   settlement offer, (vi) repudiating its agreement and representation that it would defend and

    10   indemnify Insured, and/or (vii) interfering with Insured's attorney-client relationships — all of

    11   which caused Insured to incur substantial costs to protect itself and mitigate the potential

    12   exposure it faced. Such conduct was unlawful, unfair, and/or fraudulent, such that the unjust

    13   enrichment AMCO received due to Insured's mitigation should be disgorged to Insured.

    14     AMCO INTERFERES WITH INSURED'S ATTORNEY-CLIENT RELATIONSHIPS

    15          48.     Following the trial, in light of Insured's concerns regarding the defense provided

    16   by AMCO/Murchison/WSHB, Insured sought access to its client files from Murchison and

    17   WSHB, including the following categories of documents regarding the work that Murchison and

    18   WSHB purportedly performed on Insured's behalf:

    19          (a)     All communications with insurance companies/adjusters/counsel regarding the
                        Underlying Action;
    20
                (b)     All notices exchanged with any insurance company regarding the Underlying
    21                  Action;
    22          (c)     All invoices/receipts/requests for payment submitted to any insurance company
                        regarding Underlying Action;
    23
                (d)     All timesheets (paper or electronic) for work performed for the Underlying Action;
    24
                (e)     Any payments received in response to invoices/receipts/requests for payment
    25                  submitted to any insurance company regarding the Underlying Action;
    26          (f)     Any rejections of invoices/receipts/requests for payment by any insurance
                        company for the Underlying Action;
    27
                (g)     Any billing policies/practices/instructions/ procedures provided by any insurance
    28                  company applicable to the Underlying Action.
                                                         -12-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 14 of 52 Page ID #:19




     1           49.    After ignoring Insured's requests for several days, WSHB and Murchison stated

     2   that they would not be responding to their own client — Insured — but that AMCO (and its

     3   coverage counsel) would be responding on their behalf.

     4          50.     Then, AMCO's coverage counsel — rather than Insured's own attorneys — sent

     5   Insured an e-mail stating that Insured's request for its own client files and communications was

     6   improper and refused to allow Insured access to its own client files.

     7          51.     Thus, AMCO aided and abetted WSHB and Murchison's breach of fiduciary duty

     8   to Insured and/or otherwise interfered with Insured's fiduciary relationships, depriving Insured of

     9   access to its client files — including the very documents which would show AMCO's breaches of

    10   duty to Insured.

    11          52.     AMCO's conduct caused Insured direct harm to Insured, including — among other

    12   things — attorneys' fees and costs incurred to attempt to obtain access to Insured's client files,

    13   among other things.

    14          53.     In the end, Insured has incurred no less than $3,176,237.25 in attorneys' fees and

    15   $115,000 in costs that would have been avoided had AMCO not breached its duty to Insured.

    16   Insured continues to incur damages related to AMCO's breaches and AMCO's aiding and

    17   abetting of third-party breaches.

    18                                       FIRST CAUSE OF ACTION

    19                                          BREACH OF DUTY

    20                                         (Against All Defendants)

    21          54.     Insured re-alleges paragraphs 1 through 53, inclusive, and by this reference

    22   incorporates the same as though fully set forth herein.

    23          55.     AMCO agreed to defend Insured in the Underlying Action and agreed to

    24   indemnify Insured with respect to certain claims in the Underlying Action.

    25          56.     AMCO had a duty to defend Insured, which includes, among other things, a duty

    26   to retain counsel competent to handle the Underlying Action and adequately fund the defense.

    27   The duty to adequately fund the litigation is particularly heightened where certain claims are fully

    28
                                                          -13-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 15 of 52 Page ID #:20




     1   indemnified and others are not — as here — because AMCO's failure to fund the litigation further

     2   prejudiced and put Insured at risk with respect to claims that were not indemnified.

     3               57.   AMCO breached its duty to defend, as detailed herein. AMCO also breached its

     4   duties to Insured in that it conspired to breach and/or aided and abetted a breach of fiduciary duty

     5   to Insured by denying Insured access to documents from its client files. AMCO conspired with

     6   the defense counsel it retained on Insured's behalf— Murchison and WSHB — to deprive Insured

     7   of access to its own documents.

     8               58.   AMCO also breached its duty to indemnify and acted in bad faith by (a) first

     9   asserting that it accepted the claims in the Grease Line Case, only to later contend that it would

    10   not indemnify Insured for any attorneys' fees and costs awarded to S&B, and (b), notwithstanding

    11   Insured's demand, failing to make a reasonable settlement offer to settle the Underlying Action.

    12               59.   As a direct and proximate cause of AMCO's breaches, Insured sustained actual

    13   damages, as described herein, the precise amount of which will be established according to proof

    14   at trial.

    15               60.   AMCO acted in bad faith, with reckless disregard for Insured's rights, and with

    16   oppression, fraud and malice toward Insured, entitling Insured to an award of punitive or

    17   exemplary damages.

    18                                      SECOND CAUSE OF ACTION

    19                         UNFAIR COMPETITION & BUSINESS PRACTICES

    20                                          (Against All Defendants)

    21               61.   Insured re-alleges paragraphs 1 through 60, inclusive, and by this reference

    22   incorporates the same as though fully set forth herein.

    23               62.   AMCO's conduct was unlawful, unfair, and/or fraudulent, in that, among other

    24   things, Insured is informed and believes that AMCO has a policy and practice of (i) retaining

    25   counsel not competent to handle the defense of complex civil litigation; (ii) failing to fund basic

    26   litigation defense costs; (iii) misleading its insureds as to the scope of indemnity it is providing,

    27   even after it confirms in writing that it is indemnifying without reservation or qualification; and

    28
                                                          -14-
                                                     COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 16 of 52 Page ID #:21




     1   (iv) notwithstanding Insured's demand, failing to make a reasonable settlement offer, well within

     2   policy limits, to settle the Underlying Action.

     3          63.     Moreover, Insured is informed and believes, and on that basis alleges, that AMCO

     4   is interfering with Insured's right to receive its client-files from Murchison and WSHB —

     5   apparently because it believes those files will confirm that AMCO breached its duty to defend

     6   Insured. AMCO's interference with Insured's rights and fiduciary relationships is an unlawful

     7   and unfair practice that violates the California Rules of Professional Conduct, among other things.

     8          64.     By engaging in the conduct described herein, AMCO violated, and continues to

     9   violate, Cal. Bus. and Prof Code §§ 17200, et seq.

    10          65.     AMCO's conduct herein did deceive or mislead Insured and/or is likely to deceive

    11   members of the public at large.

    12          66.     As a result of AMCO's unlawful, unfair, and/or fraudulent practices, Insured

    13   suffered actual damages to mitigate the harm caused by AMCO. Unless AMCO is enjoined from

    14   this conduct, members of the public and Insured may continue to be harmed by AMCO. Further,

    15   AMCO was unjustly enriched by Insured's conduct in that, among other things, it allowed its own

    16   retained defense attorneys — e.g., Murchison and WSHB — to take a back-seat at trial with the

    17   knowledge that Insured would mitigate its harm, to AMCO's direct benefit. AMCO's unjust

    18   enrichment should be disgorged and paid to Insured.

    19          67.     Insured is informed and believes, and on that basis alleges, that such conduct is

    20   ongoing.

    21          68.     AMCO acted in bad faith, with reckless disregard for Insured's rights, and with

    22   oppression, fraud and malice toward Insured, entitling Insured to an award of punitive or

    23   exemplary damages.

    24                                     THIRD CAUSE OF ACTION

    25                                      BREACH OF CONTRACT

    26                                        (Against All Defendants)

    27          69.     Insured re-alleges paragraphs 1 through 68, inclusive, and by this reference

    28   incorporates the same as though fully set forth herein.
                                                           -15-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 17 of 52 Page ID #:22




     1          70.     As an additional insured, Insured was an intended beneficiary of the insurance

     2   contract with AMCO for which the Underlying Action was covered. Under the insurance

     3   contract, AMCO had obligations to, among other things, defend Insured, provide funding for the

     4   litigation, mitigate Insured's exposure by making a reasonable settlement offer, and cover

     5   necessary litigation and trial expenses.

     6          71.     AMCO breached its obligations under the contract.

     7          72.     Insured performed all its obligations under the contract or was otherwise excused

     8   from performance.

     9          73.     AMCO's breach was a substantial factor in causing harm to Insured, including,

    10   among other things, Insured's incurrence of attorneys' fees and costs for the defense of the

    11   Underlying Action, which should have been paid by AMCO.

    12          74.     AMCO was substantially and unjustly enriched by the conduct of Insured, which

    13   incurred substantial costs to mitigate AMCO's breach of its obligations under the insurance

    14   contract, such that all unjust enrichment should be disgorged and paid to Insured.

    15                                    FOURTH CAUSE OF ACTION

    16                   AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

    17                                        (Against All Defendants)

    18          75.     Insured re-alleges paragraph 1 through 74, inclusive, and by this reference

    19   incorporates the same as though fully set forth herein.

    20          76.     Murchison and WSHB owe fiduciary duties to Insured as its lawyers in the

    21   Underlying Action. Murchison and WSHB breached that duty (and the California Rules of

    22   Professional Conduct) by failing to allow Insured access to its own client files.

    23          77.     AMCO had actual knowledge of Murchison and WSHB's fiduciary duties to

    24   Insured.

    25          78.     AMCO provided substantial assistance, encouragement and/or direction to

    26   Murchison and WSHB in the denial of Insured's requests for its client files, thereby breaching

    27   fiduciary duties to Insured.

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                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 18 of 52 Page ID #:23




     1          79.     AMCO's conduct was a substantial factor in causing harm to Insured — including,

     2   among other things, Insured's incurrence of attorneys' fees and costs, the amount of which will be

     3   established according to proof at trial.

     4          80.     AMCO acted in bad faith, with reckless disregard for Insured's rights, and with

     5   oppression, fraud and malice toward Insured, entitling Insured to an award of punitive or

     6   exemplary damages.

     7                                         PRAYER FOR RELIEF

     8          WHEREFORE, Insured prays for judgment on the Complaint as follows:

     9          1. For damages in an amount to be proven at trial;

    10          2. For punitive/exemplary damages in an amount to be proven at trial;

    11          3. For costs of suit herein;

    12          4. For injunctive relief;

    13          5. For such other relief as the Court may deem just and proper.

    14
         Dated: April 29, 2022                        SHUMENER, ODSON & OH LLP
    15

    16                                                By
                                                           v5.,OBERT J. ODSON
    17                                                      STACI M. TOMITA
                                                            BENJAMIN LEVENTHAL HICKS
    18                                                      Attorneysfor Crown Valley Holdings, LLC
    19

    20

    21

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    28
                                                       -17-
                                                    COMPLAINT
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 19 of 52 Page ID #:24




         EXHIBIT 2
   Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 20 of 52 Page ID #:25
            Electronically Filed by Superior Court of California, County of Orange, 04/29/2022 01:26:00 PM.
30-2022-01257143-CU-BC-WJC - ROA # 8 - DAVID H. YAMASAKI, Clerk of the Court By Brenda Sanchez, Deputy Clerk.
                                                                                                            SUM-100
                                          SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE LA CORTE)
                                     (CITACION JUDICIAL)
  NOTICE TO DEFENDANT: AMCO INSURANCE COMPANY, an Iowa
  (AVISO AL DEMANDADO): Corporation; DOES 1 - 50, Inclusive




  YOU ARE BEING SUED BY PLAINTIFF: CROWN VALLEY HOLDINGS, LLC
  (LO ESTA DEMANDANDO EL DEMANDANTE): , a Delaware Limited Liability
   Company



   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk fora fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
   (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      V/SO! Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escucharsu version. Lea la informaciOn a
   continuation.
      Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates para presentar una respuesta por escrito en esta
   code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefenica no lo protegen. Su respuesta por escrito tiene que estar
   en format° legal correcto si desea que procesen su caso en la code. Es posible que haya un formulatio que usted pueda usarpara su respuesta.
   Puede encontrar estos formularios de la code y mas infonnacien en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
   biblioteca de leyes de su condado o en la corte que le quede mes cerca. Si no puede pagar la cuota de presentation, pida al secretario de la code -
   que le de un fort-raw-to de exenci6n de pago de cuotas. Si no presents su respuesta a tiefnpo, puedeperder el caso par incumplirriiento 371a corte le
   podra guitar su sueldo, dinero y bienes sin mss advertencia.
     Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
   remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
   programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
   colegio de abogados locales. AV1SO: Purley, la corte tiene derecho a reclamarlas cuotas y los costos exentos por imponer un gravamen sobre
   cualquier recuperacien de $10,000 o mss de valor recibida mediante un acuerdo o una concesien de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la corte antes de que la code pueda desechar el caso.

 The name and address of the court is:           Orange County Superior Court
                                                                                                           CASE NUMBER:
                                                                                                           (Ntimero del Caso):
 (El nombre y direction de la corte es):         West Justice Center
                                                                                                                  30-2022-01257143-CU-BC-WJC
                                                 8141 13th Street
                                                 Westminster, CA 92683                                             Judge Walter Schwarm

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:Robert J. Odson
 (El nombre, la direcciOn y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Shumener, Odson & Oh LLP
 550 South Hope Street, Suite 1050, Los Angeles, CA 90071                                                         213-344-4200
 DATE:                                     DAVID H. YAMASAKI, Clerk, by                                                       , Deputy
  (Fecha) 04/2912022                       Clerk of the Court         (Secretario)                                             (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)                     Brenda Sanchez
 (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
   [SEAL]
                                   1.      as an individual defendant.
                                   2.      as the person sued under the fictitious name of (specify):

                                                                             AMCO INSURANCE                COMPANY, an Iowa Corporation;
                                       3. XX      on behalf of (specify):
               tip
                                           under:     YX    CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                            CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                            CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                            other (specify):
                                       4. XX      by personal delivery on (date):
                                                                                                                                                           Page 1 of 1
  Form Adopted for Mandatory Use                                        SUMMONS                                                  Code of Civil Procedure §§ 412.20, 465
    Judicial Council of California                                                                                                                 www.courlinfo.ca.gov
   SUM-100 [Rev. July 1, 2009]                                                                                                               Wesdaw Doc & Form Builder-
     Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 21 of 52 Page ID #:26




CO
 CSC
                                                                                                                          TV / ALL
                                                                                                     Transmittal Number: 24859258
Notice of Service of Process                                                                            Date Processed: 05/03/2022

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215-2410

Electronic copy provided to:                   Ashley Roberts

Entity:                                       AMCO Insurance Company
                                              Entity ID Number 0115190
Entity Served:                                AMCO Insurance Company
Title of Action:                              Crown Valley Holdings, LLC vs. Amco Insurance Company and Does 1-50
                                              Inclusive
Matter Name/ID:                               Crown Valley Holdings, LLC vs. Amco Insurance Company and Does 1-50
                                              Inclusive (12251100)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Orange County Superior Court, CA
Case/Reference No:                            30-2022-01257143-CU-BC-WJC
Jurisdiction Served:                          California
Date Served on CSC:                           05/02/2022
Answer or Appearance Due:                     30 days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Shumer, Odson & Oh LLP
                                              n/a

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 I| sop@cscglobal.com
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 22 of 52 Page ID #:27




         EXHIBIT 3
        Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 23 of 52 Page ID #:28

                           Secretary of State                                                       LLC-12                                   20-051642
                           Statement of Information
          Jr"!
                           (Limited Liability Company)                                                                                       FILED
                                                                                                                               In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                           of the State of California

 Filing Fee — $20.00
                                                                                                                                             JUN 24, 2020
 Copy Fees — First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                               This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)

  CROWN VALLEY HOLDINGS, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201017310309                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                 State    Zip Code
 300 Atlantic Street , Suite 1110                                                                    Stamford                                                CT       06901
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                 State    Zip Code
 300 Atlantic Street , Suite 1110                                                                    Stamford                                                CT       06901
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                 State    Zip Code
                                                                                                                                                              CA
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                 Last Name                                        Suffix


 b. Entity Name - Do not complete Item 5a
  WCP REAL ESTATE FUND(II), L.P.
 c. Address                                                                                          City (no abbreviations)                                 State    Zip Code
  300 Atlantic Street , Suite 1110                                                                   Stamford                                                CT      06901
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL — Complete Items 6a and 6b only. Must include agent's full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                 Last Name                                        Suffix


 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                 State    Zip Code
                                                                                                                                                              CA
      CORPORATION — Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent's Name (if agent is a corporation) — Do not complete Item 6a or 6b

COGENCY GLOBAL INC. (C2003899)
 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Ownership of real estate
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                 Last Name                                        Suffix


 b. Address                                                                                          City (no abbreviations)                                 State    Zip Code


 9. The Information contained herein, including any attachments, is true and correct.

   06/24/2020                    Marc Porosoff                                                                       Authorized Signer
   Date                              Type or Print Name of Person Completing the Form                                 Title                      Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:

Company:

Address:

City/State/Zip:        L
 LLC-12 (REV 01/2017)                                                                                                                        2017 California Secretary of State
                                                                                            Page 1 of 1
                                                                                                                                               www.sos.ca.gov/business/be
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 24 of 52 Page ID #:29




         EXHIBIT 4
      Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 25 of 52 Page ID #:30

;L]
 Company Profile        Company Profile
 Company Search         Company Information
 Company Search
                                                    AMCO INSURANCE COMPANY
 Results
                                                1 NATIONWIDE BLVD, FRAP SOLUTIONS
 Company
                                                       COLUMBUS, OH 43215
 Information Old
                                                           800-282-9445
 Company Names
 Agent for Service
 Reference
                        Old Company Names                                          Effective Date
 Information NAIC
 Group List Lines of
 Business
                        Agent For Service
 Workers'
 Compensation
                        Melissa DeKoven
 Complaint and
                        2710 Gateway Oaks Drive, Suite 150N
 Request for
                        Sacramento CA 95833-3505
 Action/Appeals
 Contact Information
 Financial Statements   Reference Information
 PDF's Annual
 Statements Quarterly
 Statements              NAIC #:                                 19100
 Company Complaint
                         California Company ID #:                2192-3
 Company_
 Performance &           Date Authorized in California:          07/03/1975
 Comparison Data
 Company_                License Status:                         UNLIMITED-NORMAL
 Enforcement Action
                         Company Type:                           Property & Casualty
 Composite
 Complaints Studies      State of Domicile:                      IOWA
 Additional Info Find
 A Company
 Representative In      back to top
 Your Area View
 Financial Disclaimer
                        NAIC Group List


                         NAIC Group #:                    0140    NATIONWIDE CORP GRP


                        Lines Of Business

                        The company is authorized to transact business within these lines of insurance.
                        For an explanation of any of these terms, please refer to the glossary.
                                                       AIRCRAFT
                                                       AUTOMOBILE
                                                       BOILER AND MACHINERY
                                                       BURGLARY
                                                       COMMON CARRIER LIABILITY
                                                       CREDIT
                                                       DISABILITY
 Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 26 of 52 Page ID #:31
                                            FIRE
                                            LIABILITY
                                            MARINE
                                            MISCELLANEOUS
                                            PLATE GLASS
                                            SPRINKLER
                                            SURETY
                                            TEAM AND VEHICLE
                                            WORKERS' COMPENSATION
                      back to top
© 2008 California Department of Insurance
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 27 of 52 Page ID #:32




         EXHIBIT 5
     Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 28 of 52 Page IDCM-010
                                                                                  #:33
EV? 'Wolin 413YetTl-                    -       1t5AVnY IMIn         YAMAS
                                                                    2Duo; zoo
                                                                                    , Clerk of the Court By KatisTmentpiaeputy Clerk.
 Shuniener, Odson & Oh LLP
 550 South Hope Street, Suite 1050, Los Angeles, CA 90071
       TELEPHONE No.:213-344-4200             FAX NO. (Optional): 213-244-4190
         E-MAIL ADDRESS: rOdSOD@S0011p.COM
     ATTORNEY FOR (Name): Crown
                              Valley Holdings, LLC
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 STREET ADDRESS: Orange County Superior Court
 MAILING ADDRESS: West Justice Center
CITY AND ZIP CODE 8141 13th Street
    BRANCH NAME:
                  Westminster, CA 92683

CASE NAME: Crown Valley Holdings, LLC v. AMCO Insurance Company

       CIVIL CASE COVER SHEET                                                      CASE NUMBER:
                                              Complex Case Designation
     X Unlimited         Limited                  Counter               Joinder      30-2022-0 1257 143 -CU-BC-MC
       (Amount           (Amount
                                          Filed with first appearance by defendant JUDGE
       demanded          demanded is                                                       judge Walter Schwarm
                                              (Cal. Rules of Court, rule 3.402)     DEPT.:
       exceeds $25,000)  $25,000 or less)
                           Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
   Auto Tort                                        Contract                                      Provisionally Complex Civil Litigation
         Auto (22)                                   X Breach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
         Uninsured motorist (46)                          Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
   Other PI/PD/WD (Personal Injury/Property               Other collections (09)                         Construction defect (10)
   Damage/Wrongful Death) Tort                                                                           Mass tort (40)
                                                          Insurance coverage (18)
         Asbestos (04)                                    Other contract (37)                            Securities litigation (28)
         Product liability (24)                                                                          Environmental/Toxic tort (30)
                                                    Real Property
         Medical malpractice (45)                                                                        Insurance coverage claims arising from the
                                                          Eminent domain/Inverse
         Other PI/PD/WD (23)                              condemnation (14)                              above listed provisionally complex case
                                                                                                         types (41)
   Non-PI/PD/WD (Other) Tort                              Wrongful eviction (33)                  Enforcement of Judgment
         Business tort/unfair business practice 07)       Other real property (26)                       Enforcement of judgment (20)
         Civil rights (08)                          Unlawful Detainer
                                                                                                  Miscellaneous Civil Complaint
         Defamation (13)                                  Commercial (31)
                                                                                                         RICO (27)
         Fraud (16)                                       Residential (32)
                                                                                                         Other complaint (not specified above) (42)
         Intellectual property (19)                       Drugs (38)
                                                                                                  Miscellaneous Civil Petition
         Professional negligence (25)               Judicial Review
                                                          Asset forfeiture (05)                             Partnership and corporate governance (21)
         Other non-PI/PD/WD tort (35)
   Employment                                             Petition re: arbitration award (11)               Other petition (not specified above) (43)
         Wrongful termination (36)                        Writ of mandate (02)
         Other employment (15)                            Other judicial review (39)
2.  This case         is       x is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.        Large number of witnesses
   b.        Extensive motion practice raising difficult or novel e.        Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                     court
                                                                  f.        Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.          monetary b. X nonmonetary; declaratory or injunctive relief c.               punitive
4. Number of causes of action (specify):Four (4)
5. This case          is       X is not     a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date:            April 29, 2022
    Benjamin Leventhal Hicks
                             (TYPE OR PRINT NAME)                                               (SIGNATU^    OF PARTY OR ATTORNEY FOR PARTY)
                                                                        NOTICE
 •    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                           Page 1 of 2
Form Adopted for Mandatory Use                                                                               Cal. Rules of Court. rules 2.30, 3.220, 3.400-3.403, 3.740,
  Judicial Council of California
                                                       CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev.September 1. 2021]                                                                                                                        www.courts.ca. you
   Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 29 of 52 Page ID #:34
                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                     Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          DamageM/rongful Death                        Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                      Contract (not unlawful detainer             Construction Defect (10)
       case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort (40)
       motorist claim subject to                       Contract/Warranty Breach—Seller                Securities Litigation (28)
       arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
       instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                          Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of ContractNVarranty                     case type listed above) (41)
 Tort                                             Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case—Seller Plaintiff                 Abstract of Judgment (Out of
        Asbestos Personal Injury/                      Other Promissory Note/Collections                      County)
              Wrongful Death                               Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
         toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
     Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
          Medical Malpractice—                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons             Other Contract (37)                               Petition/Certification of Entry of
     Other Professional Health Care                   Contractual .Fraud                                 Judgment on Unpaid Taxes
             Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
     Other PI/PD/WD (23)                       Real Property                                               Case
          Premises Liability (e.g., slip          Eminent Domnn  ai /I verse                     Miscellaneous Civil Complaint
                and fall)                             Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PD/VVD        Wrongful Eviction (33)                            Other Complaint (not specified
                (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
          Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                    Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                     Quiet Title                                              harassment)
                Emotional Distress                    Other Real Property (not eminent                   Mechanics Lien
          Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/130/WD (Other) Tort                           foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business             Unlawful Detainer
                                                            t i                                           Other Civil Complaint
        Practice (07)                             Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
           false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
           harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
     Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
            (13)                               Judicial Review                                           above) (43)
     Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
    Intellectual Property (19)                    Petition Re: Arbitration Award (11)                   Workplace Violence
     Professional Negligence (25)                 Writ of Mandate (02)
                                                                                                         Elder/Dependent Adult
        Legal Malpractice                             Writ—Administrative Mandamus                            Abuse
        Other Professional Malpractice                Writ—Mandamus on Limited Court                     Election Contest
              (not medical or legal)                      Case Matter                                   Petition for Name Change
     Other Non-PI/PD/WD Tort (35)                     Writ—Other Limited Court Case                     Petition for Relief From Late
 Employment                                              Review
                                                                                                              Claim
    Wrongful Termination (36)                     Other Judicial Review (39)                             Other Civil Petition
    Other Employment (15)                             Review of Health Officer Order
                                                      Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010 [Rev, September 1, 2021]                                                                                                          Page 2 of 2
                                                       CIVIL CASE COVER SHEET
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 30 of 52 Page ID #:35

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE                                              FOR COURT USE ONLY
STREET ADDRESS: 8141 13th STREET
MAILING ADDRESS: 8141 13th Street                                                              FILED
                                                                                        SUPEMOR COURT OF CALIFORMA
CITY AND ZIP CODE: Westminster 92683                                                         COUNTY OF ORANGE
BRANCH NAME: West Justice Center
PLANTIFF: Crown Valley Holdings, LLC
                                                                                           Apr 29, 2022
DEFENDANT: AMCO Insurance Company
                                                                                               Clerk of the Court
Short Title: CROWN VALLEY HOLDINGS, LLC VS. AMCO INSURANCE COMPANY                          By: Katie Trent, Deputy




                                                                                CASE NUMBER:
                           NOTICE OF HEARING                                     30-2022-01257143-CU-BC-CJC
                     CASE MANAGEMENT CONFERENCE


 Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 09/30/2022 at 09:00:00 AM in Department W08 of this court, located at West Justice
  Center.

 Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
 that add new parties to the proceeding must provide notice of the Case Management Conference to the
 newly added parties.


 IMPORTANT: Prior to your hearing date, please check the Court's website for the most current instructions
 regarding how to appear for your hearing and access services that are. available to answer your questions.
 Civil Matters - h..tps:illwww.occourts.oralmedia-relationslcivil.html
 ProbateiMental Health - Imps://www.occourts.orglmedia-relations,;Probate-mental-healthhtml
 Appellate Division - httpsiii.vmv.occourts.orgiinedia-relationsiapp eals-records.html

 IMPORTANTE: Antes de la fecha de su audiencia_ visite el sitio web de la Carte para saber cuales son las
 Mstrucciones mas actuales para participar en la audiencia y tener acceso a los servicios disponibles para
 responder a sus pregrtmtas_
 Casos Civiles - https://www.occourts_oralmedia-relationsicivil.html
 Casos de Probate y Salud Mental - littps://1.17vw:occourts.oremedia-relations/probate-mental-healthltml
 DivisiOn de apelaciones - https://mvw.occourts.orgimedia-rela.tions/appeals-records.html

 QUAN. TRONG: Trudc ngay phien tea cua quS, vi, vui long kiem tra trang mama- cda toa an de biet nhang_
 huong dan mai nha't t e each ra hau phien toa cua qui"( vi va tie'p can nhang dich va lien co de gial dap nhirn g
 thac mac oda
 Van. De Dan Sn - Imps:L'www_occourts.org/media-relations:Civil.html
 Thu Tuc Di Clitic!SUc. Khale Mali Than - https:(Swww.occourts.orgiMedia-relationsiorobate-mental-healthhtml
 Ban pluic tham - littps::.:vo.-vw.occourts.org.linedia-relationsappeals-records.litml




                                         Clerk of the Court, By: MiLi(e)/APAL/Y.                                      , Deputy

                                                                                                                       Page: 1
                                                   NOTICE OF HEARING
   Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 31 of 52 Page ID #:36


    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
    West Justice Center
    8141 13th STREET
    Westminster 92683

    SHORT TITLE: CROWN VALLEY HOLDINGS, LLC VS. AMCO INSURANCE COMPANY



                                                                                             CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                     30-2022-01257143-CU-BC-CJC

      I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
      placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
      pursuant to standard court practices and addressed as indicated below. The certification occurred at
      Westminster, California, on 04/29/2022. Following standard court practice the mailing will occur at Sacramento,
      California on 05/02/2022.



                                           Clerk of the Court, by:   fiate)1.4e„1                                        , Deputy
     SHUMENER, ODSON & OH LLP
     550 S HOPE STREET # 1050
     LOS ANGELES, CA 90071-2678




                                                                                                                                Page: 2
                                     CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)                                                                                  Code of Civil Procedure , §CCP1013(a)
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 32 of 52 Page ID #:37




                            Superior Court of California, County of Orange

                                 Judicial Arbitration Program Guidelines

    1. Authority.

    These guidelines are subject to the California Rules of Court, Title 3, Division 8, Chapter 2, and Rule 360,
    Orange County Superior Court Rules.

    2. Cases Subject to Judicial Arbitration.

    The following cases must be referred to judicial arbitration:

        (a) Any unlimited civil case where, in the opinion of the Court, the amount in controversy will not
        exceed fifty thousand dollars ($50,000) for each plaintiff, shall be referred to arbitration except:

                •   Cases that include a prayer for equitable relief that is not frivolous or insubstantial;
                •   Class actions;
                •   Small claims cases or trials de novo on appeal from the small claims court;
                •   Unlawful detainer proceedings;
                •   Family Law Act proceedings except as provided in Family Code section 2554;
                •   Cases where the court determines that arbitration would not reduce the probable time
                    and expense necessary to resolve the litigation; and
                •   Cases involving multiple causes of action or a cross-complaint if the court determines
                    that the amount in controversy as to any given cause of action or cross-complaint
                    exceeds fifty thousand dollars ($50,000).

       (b) Upon stipulation, any limited or unlimited civil case, regardless of the amount in controversy.

       (c) Any at issue limited civil case may be referred to judicial arbitration if the court determines
       arbitration to be in the best interests of justice.

   3. Selection of Arbitrator.

       (a) The parties may stipulate to an arbitrator within ten (10) days after the case is referred to
       arbitration, by submitting a written stipulation for the arbitrator of their choice to the Civil Clerk's office.
       If the parties select a person who is not on the court's arbitration panel, the person selected must
       complete a written consent to serve and the oath required for panel arbitrators, and both the consent
       and the oath must be attached to the stipulation.

       (b) If the arbitrator has not been selected by stipulation, the arbitrator will be selected as follows:

           (1) Within 15 days after the case has been referred to arbitration, the ADR Administrator must
           determine the number of clearly adverse sides in the case; in the absence of a cross-complaint
           bringing in a new party, the analyst may assume there are two sides. A dispute as to the number
           or identity of sides must be decided by the presiding judge in the same manner as disputes in
           determining sides entitled to peremptory challenges of jurors.

           (2) The ADR Administrator will select at random a number of names equal to the number of
           sides, plus one, and mail the list of randomly selected names to counsel for the parties.




                                                  Judicial Arbitration 1
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 33 of 52 Page ID #:38




            (3) Each side has 10 days from the date of mailing to file a rejection, in writing, or no more than
            one name on the list; if there are two or more parties to a side, they must join in the rejection of a
            single name.

            (4) On the expiration of the 10-day period, the ADR Administrator will appoint, at random, one or
            the persons on the list whose name was not rejected, if more than one name remains.

            (5) The ADR Administrator will assign the case to the arbitrator appointed.

       (c) If the first arbitrator declines to serve, the ADR Administrator must vacate the appointment of the
       arbitrator and may either:

            (1) Return the case to the top of the arbitration hearing list and appoint a new arbitrator; or

            (2) Certify the case to the court.

       (d) If the second arbitrator declines to serve or if the arbitrator does not complete the hearing within
       90 days of the assignment, including any time due to continuances, the ADR Administrator must
       certify the case to the court.

       (e) If a case is certified to court under either (c) or (d), the court will hold a case management
       conference. If the inability to hold an arbitration hearing is due to the neglect of lack of cooperation of
       a party who elected or stipulated to the arbitration, the court may set the case for trial and may make
       any other appropriate orders. In all other circumstances, the court may reassign the case to
       arbitration or make any other appropriate orders to expedite disposition of the case.

   4. Conflict of Interest.

       (a)Within ten (10) days of receiving the assignment, the arbitrator must determine whether any cause
       exists for his or her disqualification in the case upon any of the following grounds:1

            (1) The arbitrator has personal knowledge of disputed evidentiary facts concerning the case. An
            arbitrator shall be deemed to have personal knowledge within the meaning of this paragraph if the
            arbitrator, or his or her spouse, or a person within the third degree of relationship to either of
            them, or the spouse of such a person is to the arbitrator's knowledge likely to be a material
            witness in the case.

            (2) The arbitrator has served as a lawyer in the case, or in any other proceeding involving the
            same issues she or he served as a lawyer for any party in the present proceeding or gave advice
            to any party in the present case upon any matter involved in the case. An arbitrator shall be
            deemed to have served as a lawyer in the case if within the past two years:

                 •    A party in the case or an officer, director, or trustee was a client of the arbitrator or a
                      client of a lawyer with whom the arbitrator is or was associated in the practice of law.
                 •    A lawyer in the case was associated in the practice of law with the arbitrator.

            An arbitrator who served as a lawyer for or officer of a public agency shall be deemed to have
            served as a lawyer in the case if he or she personally advised or in any way represented the
            public agency concerning the factual or legal issues in the case.




    Code of Civil Procedure Section 170.1.


                                                   Judicial Arbitration 2
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 34 of 52 Page ID #:39




          (3) The arbitrator has a financial interest in the subject matter of the case or in a party to the
          case. An arbitrator shall be deemed to have a financial interest within the meaning of this
          paragraph if:

              •   A spouse or minor child living in the household has a financial interest.
              •   The arbitrator or the spouse of the arbitrator is a fiduciary who has a financial interest.

          (4) The arbitrator, the arbitrator's spouse, or a person within the third degree of relationship to
          either of them, or the spouse of such a person, is a party to the case or an officer, director, or
          trustee of a party.

          (5) A lawyer or the spouse of a lawyer in the case is the spouse, former spouse, child, sibling, or
          parent of the arbitrator or the arbitrator's spouse or if such a person is associated in the practice
          of law with a lawyer in the case.

          (6) If, for any reason:

              •   The arbitrator believes his or her disqualification would further the interest of justice.
              •   The arbitrator believes there is a substantial doubt as to her or his capacity to be
                  impartial.
              •   A person aware of the facts might reasonably entertain a doubt that the arbitrator would
                  be able to be impartial.

          (7) The arbitrator is biased or prejudiced toward a lawyer in the case.

      (b) The arbitrator shall notify the ADR Administrator within ten (10) days of the Notice of Assignment
      of any grounds for disqualification known to him or her and another arbitrator will be selected.

      (c) In addition to any other disclosure required by law, no later than five days before the deadline for
      parties to file a motion for disqualification of the arbitrator under Code of Civil Procedure section
      170.6 or, if the arbitrator is not aware of his or her appointment or of a matter subject disclosure at
      that time, as soon as practicable thereafter, and arbitrator must disclose to the parties any significant
      personal or professional relationship the arbitrator has or has had with a party, attorney, or law firm in
      the instant case, including the number and nature of any proceedings in the past 24 months in which
      the arbitrator has been privately compensated by a party, attorney, law firm, or insurance company in
      the instant case for any services, including services as an attorney, expert witness, or consultant or
      as a judge, referee, arbitrator, mediator, neutral evaluator, settlement facilitator, or other alternative
      dispute resolution neutral.

      (d) A copy of any request by a party for the disqualification of an arbitrator under Code of Civil
      Procedure section 170.1 or 170.6 must be sent to the ADR administrator.

      (e) On motion of an party, made as promptly as possible under Code of Civil Procedure sections
      170.1 and 1141.18(d) and before the conclusion of arbitration proceedings, the appointment of an
      arbitrator to a case must be vacated if the court finds that:

          (1) The party has demanded that the arbitrator disqualify herself or himself;

          (2) The arbitrator has failed to do so; and

          (3) Any of the grounds specified in section 170.1 exists.

      The ADR Administrator must return the case to the top of the arbitration hearing list and appoint a
      new arbitrator.



                                               Judicial Arbitration 3
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 35 of 52 Page ID #:40




    5. Notice and Setting of Arbitration Hearing.

    Within fifteen (15) days of receiving the Selection of ADR Neutral and Party List, the arbitrator must set
    the time, date, and place of the arbitration hearing and provide each party and the ADR Administrator with
    a Notice of ADR Session at least 30 days prior to the hearing date. The arbitration hearing must be
    scheduled not sooner than 35 days and not later than 90 days from the date of referral to arbitration.

   The hearing must be set at a convenient date, time and place within the County of Orange, The hearing
   may not be set on a Saturday, Sunday, or legal holiday without the written stipulation of all parties and the
   arbitrator. Upon the written stipulation of all parties and the arbitrator, the arbitration hearing may be held
   at a location outside of Orange County.

   If the arbitrator is unable to hold the hearing within the time limitations, a notification shall be submitted to
   the ADR Administrator and all parties. The ADR Administrator will return the case to the list of cases
   pending appointment of a new arbitrator pursuant to these guidelines.

   6. Continuances.

   An arbitration hearing may not be continued beyond the ninety (90) day period except by order of the
   court for good cause.

   An arbitration hearing date may be continued:

       •   By written stipulation of all counsel with the consent of the arbitrator. The original copy of the
           stipulation shall be filed with the ADR Administrator. The new hearing date must be set within 90
           days of the referral to arbitration.

       •   By noticed motion, if the desired hearing date is more than 90 days from the referral to arbitration.
           A written declaration must be submitted with the motion, stating the reason(s) for the extended
           setting. The motion must be set for hearing before the judge who signed the arbitration referral
           order.

       •   By written stipulation of all parties, and approval of the court, if the hearing date exceeds 90 days
           from the referral to arbitration. A written declaration must be submitted with the stipulation,
           stating the reason(s) for the extended setting. The stipulation must be filed with the ADR
           Administrator. The stipulation must be titled "Stipulation and Order for Continuance of Arbitration"
           and shall include, below the attorney signatures, the language "IT IS SO ORDERED," followed by
           a date and signature line for the judge.

   7. Ex Parte Communication.

   An arbitrator must not initiate, permit, or consider any ex parte communications or consider other
   communications made to the arbitrator outside the presence of all parties concerning a pending
   arbitration, except as follows:

       (a) An arbitrator may communicate with a party in the absence of other parties about administrative
       matters, such as setting the time and place of hearings or making other arrangements for the conduct
       of the proceedings, as long as the arbitrator reasonably believes that the communication will not
       result in a procedural or tactical advantage for any party. When such a discussion occurs, the
       arbitrator must promptly inform the other parties of the communication and must give the other parties
       an opportunity to respond before making any final determination concerning the matter discussed.




                                                 Judicial Arbitration 4
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 36 of 52 Page ID #:41




        (b) An arbitrator may initiate or consider any ex parte communication when expressly authorized by
        law to do so.

    No disclosure of any offers of settlement made by any party may be made to the arbitrator prior to the
    filing of the award.

    8. Discovery.

    The parties to the arbitration shall have the right to take depositions and to obtain discovery, and to that
    end may exercise all of the same rights, remedies and procedures, and shall be subject to all of the same
    duties, liabilities, and obligations as provided by applicable laws and regulations for other cases pending
    in the Orange County Superior Court2, except that all arbitration discovery must be completed no later
    than 15 days prior to the date set for the arbitration hearing unless the court, upon a showing of good
    cause, makes an order granting an extension of the time within which discovery must be completed.

    9. Representation by Counsel.

    A party to the arbitration has a right to be represented by an attorney at any proceeding or hearing in
    arbitration, but this right may be waived. A waiver of this right may be revoked, but if revoked, the other
    party is entitled to a reasonable continuance for the purpose of obtaining counsel.

    10. Absence of a Party.

    The arbitration may proceed in the absence of any party who, after due notice, fails to be present and to
    obtain a continuance. An award must not be based solely on the absence of a party. In the event of a
    default by the defendant, the arbitrator must require the plaintiff to submit such evidence as may be
    appropriate for the making of an award.

   12. Rules of Evidence at Hearing.

        (a) All evidence must be taken in the presence of the arbitrator and all parties, except where any of
        the parties has waived the right to be present or is absent after due notice of the hearing.

        (b) The rules of evidence governing civil cases apply to the conduct of the arbitration hearing, except:

             (1) Any party may offer written reports of any expert witness, medical records and bills (including
             physiotherapy, nursing, and prescription bills), documentary evidence of loss of income, property'
             damage repair bills or estimates, police reports concerning an accident that gave rise to the case,
             other bills and invoices, purchase orders, checks, written contracts, and similar documents
             prepared and maintained in the ordinary course of business.

                   •    The arbitrator must receive them in evidence if copies have been delivered to all
                        opposing parties at least 20 days before the hearing.

                  •     Any other party may subpoena the author or custodian of the document as a witness and
                        examine the witness as if under cross-examination.

                  •     Any repair estimate offered as an exhibit, and the copies delivered to opposing parties,
                        must be accompanied by:




   2
     For unlimited civil cases, Part 4, Title 3, Chapter 3 of the Code of Civil Procedure. For limited civil cases, Part 1, Title 1, Chapter
   5 of the Code of Civil Procedure.


                                                            Judicial Arbitration 5
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 37 of 52 Page ID #:42




                       o   A statement indicating whether or not the property was repaired, and, if it was,
                           whether the estimated repairs were made in full or in part; and

                       o   A copy of the receipted bill showing the items of repair and the amount paid.

              •   The arbitrator must not consider any opinion as to ultimate fault expressed in a police
                  report.

          (2) The written statements of any other witness may be offered and must be received in evidence
          if:

              •   They are made by declaration under penalty of perjury;

              •   Copies have been delivered to all opposing parties at least 20 days before the hearing;
                  and

              •   No opposing party has, at least 10 days before the hearing, delivered to the proponent of
                  the evidence a written demand that the witness be produced in person to testify at the
                  hearing. The arbitrator must disregard any portion of a statement received under this rule
                  that would be inadmissible if the witness were testifying in person, but the inclusion of
                  inadmissible matter does not render the entire statement inadmissible.

          (3) The deposition of any witness may be offered by any party and must be received in evidence,
          subject to objections available by law, notwithstanding that the deponent is not "unavailable as a
          witness" within the meaning of Evidence Code section 240 and not exceptional circumstances
          exist, if:

              •   The deposition was taken in the manner provided for by law or by stipulation of the
                  parties and within the time provided for in these guidelines; and

              •   Not less than 20 days before the hearing the proponent of the deposition delivered to all
                  opposing parties notice of intention to offer the deposition in evidence.

          The opposing party, upon receiving he notice, may subpoena the deponent and, at the discretion
          of the arbitrator, either the deposition may be excluded from evidence or the deposition may be
          admitted and the deponent may be further cross-examined by the subpoenaing party.

      (c) The attendance of witnesses at arbitration hearings may be compelled through the issuance of
      subpoenas. It is the duty of the party requesting the subpoena to modify the form of the subpoena so
      as to show that the appearance is before an arbitrator and to give the time and place set for the
      arbitration hearing.

      At the discretion of the arbitrator, nonappearance of a properly subpoenaed witness may be a ground
      for an adjournment or continuance of the hearing.

      If any witness properly served with a subpoena fails to appear at the arbitration hearing or, having
      appeared, refuses to be sworn or to answer, proceedings to compel compliance with the subpoena
      on penalty of contempt may be had before the superior court as provided in the Code of Civil
      Procedure section 1991.

      (d) The delivery of a document or notice may be accomplished manually or by mail in the manner
      provide in Code of Civil Procedure section 1013. If service is by mail, the times prescribed for
      delivery of documents, notices and demands are increased by five days.




                                              Judicial Arbitration 6
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 38 of 52 Page ID #:43




    13. Conduct of the Hearing.

       (a) The arbitrator has the following powers:

           (1) To administer oaths or affirmations to witnesses;

           (2) To make adjournments upon the request of a party or upon his or her own initiative when
           deemed necessary;

           (3) To permit testimony to be offered by deposition;

           (4) To permit evidence to be offered and introduced as provided in these guidelines;

           (5) To rule upon the admissibility and relevancy of evidence offered;

           (6) To invite the parties, on reasonable notice, to submit arbitration briefs;

           (7) To decide the law and facts of the case and make an award accordingly;

           (8) To award costs, not to exceed the statutory costs of the suit; and

           (9) To examine any site or object relevant to the case.

       (b) The arbitrator may, but is not required to, make a record of the proceedings.

       Any records of the proceedings made by or at the direction of the arbitrator are deemed the
       arbitrator's personal notes and are not subject to discovery, and the arbitrator must not deliver them
       to any party to the case or to any other person, except to an employee using the records under the
       arbitrator's supervision or pursuant to a subpoena issued in a criminal investigation or prosecution for
       perjury.

       No other record may be made, and the arbitrator must not permit the presence of a stenographer or
       court reporter or the use of any recording device at the hearing, except as expressly permitted by this
       paragraph.

   14. The Award.

       (a) The award must be in writing and signed by the arbitrator. It must determine all issues properly
       raised by the pleadings, including a determination of any damages and an award for costs if
       appropriate. The arbitrator is not required to make findings of fact or conclusions of law.

       (b) Within 10 days after the conclusion of the arbitration hearing, the arbitrator must file the award
       with the clerk, with proof of service on each party to the arbitration. On the arbitrator's application in
       cases of unusual length or complexity, the court may allow up to 20 additional days for the filing and
       service of the award. Within the time for filing the award, the arbitrator may file and serve an
       amended award.

   15. Arbitrator's Fees.

       (a) Upon the filing of a timely award, the arbitrator will receive the sum of $150.00 for each case as a
       fee for services rendered on the case. When two or more cases arise out of the same transaction
       and are heard at the same hearing, they shall be considered as one case for purposes of determining
       the arbitrator's fees.




                                                 Judicial Arbitration 7
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 39 of 52 Page ID #:44




        (b) The arbitrator's fee statement must be submitted to the ADR Unit promptly upon the completion
        of the arbitrator's duties and must set forth the title and number of the cause arbitrated, the date of
        the arbitration hearing(s), and the date the award or settlement was filed.

       (c) When the arbitrator has devoted a substantial amount of time to a case that was settled without a
       hearing, the arbitrator may request fees for her or his services by filing a Notice of Settlement signed
       by the parties or their counsel. If the arbitrator has not had a notice signed by counsel, he or she may
       submit a verified ex parte application for arbitrator's fees concurrently with the fee statement.

       (d) On the arbitrator's verified ex parte application presented concurrently with the fee statement, the
       court may, for good cause, set a greater fee than that provided by these guidelines, if the arbitration
       proceeding was of unusual duration or difficulty.

       (e) The arbitrator may request the payment of arbitrator's fees by a verified ex parte application when
       the award was not timely filed.

    16. Trial de Novo.

       (a) Within 30 days after the arbitration award is filed, any party may request a trial de novo by filing a
       request for trial, with proof of service of a copy upon all other parties in the case. A request for trial
       filed after the parties have been served with a copy of the award by the arbitrator, but before the
       award has been filed, is valid and timely filed. The 30-day period within which to request trial may not
       be extended.

       (b) Upon the timely filing of a request for trial de novo after arbitration the case shall be returned to
       the judge who signed the original arbitration referral order. The case must proceed as provided under
       an applicable case management order. If no pending order provides for the prosecution of the case
       after a request for trial de novo after arbitration, the court must promptly schedule a case
       management conference.

       (c) The case shall be tried as though no arbitration proceedings had occurred. No reference may be
       made during the trial to the arbitration award, to the fact that there had been arbitration proceedings,
       to the evidence adduced at the arbitration hearing, or to any other aspect of the arbitration
       proceedings, and none of the foregoing may be used as affirmative evidence, or by way of
       impeachment, or for any other purpose at the trial.

       (d) No discovery shall be permissible after an arbitration award in cases where a trial de novo has
       been granted, except by stipulation or by leave of court upon a showing of good cause.

       (e) If a party has requested a trial de novo after arbitration, the request may not be withdrawn except
       by a written instrument, signed by counsel for all parties appearing in the case, expressly agreeing
       that a nonappealable judgment may be entered on the arbitration award.

   17. Costs of Trial.

       (a) If the judgment upon the trial de novo is not more favorable in either the amount of damages
       awarded or the type of relief granted for the party electing the trial de novo than the arbitration award,
       the court shall order that party to pay the following nonrefundable costs and fees, unless the court
       finds in writing and upon motion that the imposition of these fees would create such a substantial
       economic hardship as not to be in the interests of justice:

           (1) To the court, the compensation actually paid to the arbitrator, less any amount paid pursuant
           to subparagraph (4).




                                                Judicial Arbitration 8
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 40 of 52 Page ID #:45




              (2) To the other party or parties, all cost specified in Code of Civil Procedure section 1033.5, and
              the party electing the trial de novo shall not recover his or her costs.

              (3) To the other party; or parties, the reasonable costs of the services of expert witnesses, who
              are not regular employees of any party, actually incurred or reasonably necessary in the
              preparation of the trial of the case.

              (4) To the other party or parties, the compensation paid by the other party or parties to the
              arbitrator pursuant to Code of Civil Procedure section 1141.28(b).

        (b) Those costs and fees, other than the compensation of the arbitrator, shall include only those
        incurred from the time of election of the trial de novo.

        (c) If the party electing the trial de novo has proceeded in the action in forma pauperis and has failed
        to obtain a more favorable judgment:

             (1) The costs imposed under subparagraphs (a)(2) and (a)(3) shall be imposed only as an offset
             against any damages awarded in favor of that party.

             (2) The costs under subparagraph (a)(1) shall be imposed only to the extent that there remains a
             sufficient amount in the judgment after the amount offset under subparagraph (c)(1) has been
             deducted from the judgment.


        (d) Nothing in these guidelines shall prohibit an arbitration award in excess of $50,000. However, no
        party electing a trial de novo after such award shall be subject to the provisions of this section
        regarding costs.

   19. Entry of Award.

        (a) The clerk must enter the award as a judgment immediately upon the expiration of 30 days after
        the award is filed if not party has, during that period, served and filed a request for trial as provided in
        these guidelines.

        (b) Promptly upon entry of the award as a judgment, the clerk must mail notice of entry of judgment
        to all parties who have appeared in the case and must execute a certificate of mailing and place it in
        the court's file in the case.

        (c) The judgment so entered has the same force and effect in all respects as, and is subject to all
        provisions of law relating to, a judgment in a civil case or proceeding, except that it is not subject to
        appeal and it may not be attacked or set aside except as provided in section 20 below. The judgment
        so entered may be enforced as if it had been rendered by the court in which it is entered.

   20. Vacating Judgment on Award.

        (a) A party against whom a judgment is entered under an arbitration may, within six months after its
        entry, move to vacate the judgment on the ground that the arbitrator was subject to a disqualification
        not disclosed before the hearing and or which the arbitrator was then aware, or upon one of the
        grounds set forth in Code of Civil Procedure sections 473 or 1286.2(a)(1), (2), and (3), and on no
        other grounds3.

   3
     § 473 relates to relief from judgment taken by mistake, inadvertence, surprise or excusable neglect and vacating a default
   judgment. § 1286(a) in relevant part requires the vacation of the award if the court finds that: (1) the award was procured by
   corruption of other undue means; (2) there was corruption in any of the arbitrators; or (3) the rights of the party were substantially
   prejudiced by the misconduct of a neutral arbitrator.


                                                            Judicial Arbitration 9
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 41 of 52 Page ID #:46




        (b) The motion must be heard upon notice to the adverse parties and to the arbitrator, and may be
        granted only upon clear and convincing evidence that the grounds alleged are true, and that the
        motion was made as soon as practicable after the moving party learned of the existence of those
        grounds.

    21. Settlement of Case.

    If the case is settled, each plaintiff or other party seeking affirmative relief must notify the arbitrator and
    the court as required by section 3 of these guidelines.

    22. Arbitration not Pursuant to Rules and Guidelines.

    These guidelines do not prohibit the parties to any civil case or proceeding from entering into arbitration
    agreements under part 3, title 9 of the Code of Civil Procedure. Neither the ADR Committee nor the ADR
    Administrator may take any part in the conduct of an arbitration under an agreement not in conformity
    with these rules except that the administrator may, upon joint request of the parties, furnish the parties to
    the agreement with a randomly selected list of at least three names of members of the appropriate panel
    of arbitrators.

    23. Administration of Judicial Arbitration Program.

        (a) The Alternative Dispute Resolution (ADR) committee is responsible for:

            (1) Appointing the panels of arbitrators provided for in section 24;

            (2) Removing a person from a panel of arbitrators;

            (3) Establishing procedures for selecting an arbitrator; and

            (4) Reviewing the administration and operation of the arbitration program periodically and making
            recommendations to the Judicial Council as the committee deems appropriate to improve the
            program, promote the ends of justice, and serve the needs of the community.

        (b) The Chief Executive Officer shall serve as the ADR Administrator, supervise the selection of
        arbitrators for the cases on the arbitration hearing list, and generally supervise the operation of the
        arbitration program, and may employ such staff as are necessary to fulfill this responsibility.

    24. Panels of Arbitrators.

        (a) The court will have a panel of arbitrators for personal injury cases, and such additional panels as
        the presiding judge, may, from time to time, determine are needed.

        (b) The panels of arbitrators must be composed of active or inactive members of the State Bar,
        retired court commissioners who were licensed to practice law before their appointment as
        commissioners, and retired judges. A former California judicial officer is not eligible for the panel of
        arbitrators unless she or he is an active or inactive member of the State Bar.

        (c) The ADR committee is responsible for determining the size and composition of each panel of
        arbitrators. The personal injury panel, to the extent feasible, must contain an equal number of those
        who usually represent plaintiffs and those who usually represent defendants.

        (d) Each person appointed to an arbitration panel serves as a member of the panel at the pleasure of
        the ADR committee. A person may be on arbitration panels in more than one county. An
        appointment to a panel is effective when the person appointed:


                                                  Judicial Arbitration 10
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 42 of 52 Page ID #:47




          (1) Agrees to serve;

          (2) Certifies that he or she is aware of and will comply with applicable provisions of canon 6 of
          the Code of Judicial Ethics and these guidelines;

          (3) Files an oath or affirmation to justly try all matters submitted to her or him; and

          (4) Agrees to serve as an arbitrator on a pro bono or modest-means basis in at least one case
          per year, not to exceed eight (8) hours, if requested by the Court.

      (e) Lists showing the names of panel arbitrators available to hear cases will be available for public
      inspection at the Civil Clerk's Office at the Central Justice Center and online.




                                              Judicial Arbitration 11
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 43 of 52 Page ID #:48




                   2007 California Rules of Court

   California Code of Judicial Ethics

   (excerpts applicable to arbitrators)

   Terminology

   Terms explained below are noted with an asterisk (*) in the Canons where they appear. In addition, the
   Canons in which terms appear are cited after the explanation of each term below.

   "Appropriate authority" denotes the authority with responsibility for initiation of the disciplinary process
   with respect to a violation to be reported. See Commentary to Canon 3D.

   "Candidate." A candidate is a person seeking election for or retention of judicial office by election. A
   person becomes a candidate for judicial office as soon as he or she makes a public announcement of
   candidacy, declares or files as a candidate with the election authority, or authorizes solicitation or
   acceptance of contributions or support. The term "candidate" has the same meaning when applied to a
   judge seeking election to nonjudicial office, unless on leave of absence. See Preamble and Canons
   2B(3), the preliminary paragraph of 5, 5A, 5B, 5C, and 6E.

   "Court personnel" does not include the lawyers in a proceeding before a judge. See Canons 3B(4),
   3B(7)(b), 3B(9), and 3C(2).

   "Fiduciary" includes such relationships as executor, administrator, trustee, and guardian. See Canons 4E,
   6B, and 6F (Commentary).

   "Law" denotes court rules as well as statutes, constitutional provisions, and decisional law. See Canons 1
   (Commentary), 2A, 2C (Commentary), 3A, 3B(2), 3B(7), 3E, 4B (Commentary), 4C, 4D(6)(a)-(b), 4F, 4H,
   and 5D.

   "Member of the judge's family" denotes a spouse, registered domestic partner, child, grandchild, parent,
   grandparent, or other relative or person with whom the judge maintains a close familial relationship. See
   Canons 2B(2), 4D(1) (Commentary), 4D(2), 4E, 4G (Commentary), and 5A.

   "Member of the judge's family residing in the judge's household" denotes a
   spouse or registered domestic partner and those persons who reside in the judge's household who are
   relatives of the judge including relatives by marriage, or persons with whom the judge maintains a close
   familial relationship. See Canons 4D(5) and 4D(6).
   "Nonprofit youth organization" is any nonprofit corporation or association, not organized for the private
   gain of any person, whose purposes are irrevocably dedicated to benefiting and serving the interests of
   minors and which maintains its nonprofit status in accordance with applicable state and federal tax laws.
   See Canon 2C.

   "Nonpublic information" denotes information that, by law, is not available to the public. Nonpublic
   information may include but is not limited to information that is sealed by statute or court order,


                                                Judicial Arbitration 12
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 44 of 52 Page ID #:49




    impounded, or communicated in camera; and information offered in grand jury proceedings,
    presentencing reports, dependency cases, or psychiatric reports. See Canon 36(11).

    "Political organization" denotes a political party, political action committee, or other group, the principal
    purpose of which is to further the election or appointment of candidates to nonjudicial office. See Canon
    5A.

    "Registered domestic partner" denotes a person who has registered for domestic partnership pursuant to
    state law or who is recognized as a domestic partner pursuant to Family Code section 299.2.

    "Temporary Judge." A temporary judge is an active or inactive member of the bar who, pursuant to article
    VI, section 21 of the California Constitution, serves or expects to serve as a judge once, sporadically, or
    regularly on a part-time basis under a separate court appointment for each period of service or for each
    case heard. See Canons 4C(3)(d)(i), 6A, and 6D.

    "Require." Any Canon prescribing that a judge "require" certain conduct of others means that a judge is to
    exercise reasonable direction and control over the conduct of those persons subject to the judge's
    direction and control. See Canons 3B(3), 3B(4), 3B(6), 3B(8) (Commentary), 3B(9), and 3C(2).

    "Subordinate judicial officer." A subordinate judicial officer is, for the purposes of this Code, a person
    appointed pursuant to article VI, section 22 of the California Constitution, including, but not limited to, a
    commissioner, referee, and hearing officer. See Canon 6A.




                                                 Judicial Arbitration 13
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 45 of 52 Page ID #:50




    CANON 1

    A JUDGE SHALL UPHOLD THE INTEGRITY AND INDEPENDENCE OF THE
    JUDICIARY

    An independent and honorable judiciary is indispensable to justice in our society. A judge should
    participate in establishing, maintaining, and enforcing high standards of conduct, and shall
    personally observe those standards so that the integrity and independence of the judiciary will be
    preserved. The provisions of this Code are to be construed and applied to further that objective. A
    judicial decision or administrative act later determined to be incorrect legally is not itself a
    violation of this Code.

    ADVISORY COMMITTEE COMMENTARY

    Deference to the judgments and rulings of courts depends upon public confidence in the integrity and
    independence of judges. The integrity and independence of judges depend in turn upon their acting
    without fear or favor. Although judges should be independent, they must comply with the law* and the
    provisions of this Code. Public confidence in the impartiality of the judiciary is maintained by the
    adherence of each judge to this responsibility. Conversely, violations of this Code diminish public
    confidence in the judiciary and thereby do injury to the system of government under law.

    The basic function of an independent and honorable judiciary is to maintain the utmost integrity in
    decision making, and this Code should be read and interpreted with that function in mind.

    CANON 2

    A JUDGE SHALL AVOID IMPROPRIETY AND THE APPEARANCE OF
    IMPROPRIETY IN ALL OF THE JUDGE'S ACTIVITIES

    A. Promoting Public Confidence

    A judge shall respect and comply with the law* and shall act at all times in a manner that promotes public
    confidence in the integrity and impartiality of the judiciary.

    ADVISORY COMMITTEE COMMENTARY

   Public confidence in the judiciary is eroded by irresponsible or improper conduct by judges. A judge must
   avoid all impropriety and appearance of impropriety. A judge must expect to be the subject of constant
   public scrutiny. A judge must therefore accept restrictions on the judge's conduct that might be viewed as
   burdensome by other members of the community and should do so freely and willingly.
   The prohibition against behaving with impropriety or the appearance of impropriety applies to both the
   professional and personal conduct of a judge.
   The test for the appearance of impropriety is whether a person aware of the facts might reasonably
   entertain a doubt that the judge would be able to act with integrity, impartiality, and competence.
   See also Commentary under Canon 2C.

   B. Use of the Prestige of Judicial Office

   (1) A judge shall not allow family, social, political, or other relationships to influence the judge's judicial
   conduct or judgment, nor shall a judge convey or permit others to convey the impression that any
   individual is in a special position to influence the judge.



                                                  Judicial Arbitration 14
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 46 of 52 Page ID #:51




    CANON 3

    A JUDGE SHALL PERFORM THE DUTIES OF JUDICIAL OFFICE IMPARTIALLY
    AND DILIGENTLY

    B. Adjudicative Responsibilities

    (1) A judge shall hear and decide all matters assigned to the judge except those in which he or she is
    disqualified.

    ADVISORY COMMITTEE COMMENTARY

    Canon 38(1) is based upon the affirmative obligation contained in the Code of Civil Procedure.

    (2) A judge shall be faithful to the law* regardless of partisan interests, public clamor, or fear of criticism,
    and shall maintain professional competence in the law.*

    (3) A judge shall require* order and decorum in proceedings before the judge.

   (4) A judge shall be patient, dignified, and courteous to litigants, jurors, witnesses, lawyers, and others
   with whom the judge deals in an official capacity, and shall require* similar conduct of lawyers and of all
   court staff and personnel* under the judge's direction and control.

   (5) A judge shall perform judicial duties without bias or prejudice. A judge shall not, in the performance of
   judicial duties, engage in speech, gestures, or other conduct that would reasonably be perceived as (1)
   bias or prejudice, including but not limited to bias or prejudice based upon race, sex, religion, national
   origin, disability, age, sexual orientation, or socioeconomic status, or (2) sexual harassment.

   (Canon 3B (5) amended effective December 22, 2003.)

   (6) A judge shall require* lawyers in proceedings before the judge to refrain from manifesting, by words or
   conduct, bias or prejudice based upon race, sex, religion, national origin, disability, age, sexual
   orientation, or socioeconomic status against parties, witnesses, counsel, or others. This Canon does not
   preclude legitimate advocacy when race, sex, religion, national origin, disability, age, sexual orientation,
   socioeconomic status or other similar factors are issues in the proceeding.

   (7) A judge shall accord to every person who has a legal interest in a proceeding, or that person's lawyer,
   full right to be heard according to law.* A judge shall not initiate, permit, or consider ex parte
   communications, or consider other communications made to the judge outside the presence of the parties
   concerning a pending or impending proceeding, except as follows:

        (a) A judge may obtain the advice of a disinterested expert on the law* applicable to a proceeding
        before the judge if the judge gives notice to the parties of the person consulted and the substance of
        the advice, and affords the parties reasonable opportunity to respond.

        (b) A judge may consult with court personnel* whose function is to aid the judge in carrying out the
        judge's adjudicative responsibilities or with other judges.

        (c) A judge may, with the consent of the parties, confer separately with the parties and their lawyers in
        an effort to mediate or settle matters pending before the judge.

       (d) A judge may initiate ex parte communications, where circumstances require, for scheduling,
       administrative purposes, or emergencies that do not deal with substantive matters provided:


                                                  Judicial Arbitration 15
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 47 of 52 Page ID #:52




           (i) the judge reasonably believes that no party will gain a procedural or tactical advantage as a
           result of the ex parte communication, and

           (ii) the judge makes provision promptly to notify all other parties of the substance of the ex parte
           communication and allows an opportunity to respond.

        (e) A judge may initiate or consider any ex parte communication when expressly authorized by law* to
        do so.

    ADVISORY COMMITTEE COMMENTARY

     The proscription against communications concerning a proceeding includes communications from
    lawyers, law professors, and other persons who are not participants in the proceeding, except to the
    limited extent permitted by the exceptions noted in Canon 38(7).

    This Canon does not prohibit a judge from initiating or considering an ex parte communication when
    authorized to do so by stipulation of the parties.

    This Canon does not prohibit court staff from communicating scheduling information or carrying out
    similar administrative functions.

    An appropriate and often desirable procedure for a court to obtain the advice of a disinterested expert on
    legal issues is to invite the expert to file an amicus curiae brief.

    A judge must not independently investigate facts in a case and must consider only the evidence
    presented, unless otherwise authorized by law. * For example, a judge is statutorily authorized to
    investigate and consult witnesses informally in small claims cases.

    (8) A judge shall dispose of all judicial matters fairly, promptly, and efficiently.

    ADVISORY COMMITTEE COMMENTARY

    The obligation of a judge to dispose of matters promptly and efficiently must not take precedence over the
   judge's obligation to dispose of the matters fairly and with patience. A judge should monitor and supervise
   cases so as to reduce or eliminate dilatory practices, avoidable delays, and unnecessary costs. A judge
   should encourage and seek to facilitate settlement, but parties should not feel coerced into surrendering
    the right to have their controversy resolved by the courts.

    Prompt disposition of the court's business requires a judge to devote adequate time to judicial duties, to
    be punctual in attending court and expeditious in determining matters under submission, and to require*
    that court officials, litigants, and their lawyers cooperate with the judge to that end.

    (11) A judge shall not disclose or use, for any purpose unrelated to judicial duties, nonpublic information*
    acquired in a judicial capacity.

    ADVISORY COMMITTEE COMMENTARY

   This Canon makes it clear that judges cannot make use of information from affidavits, jury results, or court
   rulings, before they become public information, in order to gain a personal advantage.




                                                   Judicial Arbitration 16
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 48 of 52 Page ID #:53




    C. Administrative Responsibilities

    (1) A judge shall diligently discharge the judge's administrative responsibilities without bias or prejudice
    and maintain professional competence in judicial administration, and shall cooperate with other judges
    and court officials in the administration of court business.

    (2) A judge shall require* staff and court personnel* under the judge's direction and control to observe
    appropriate standards of conduct and to refrain from manifesting bias or prejudice based upon race, sex,
    religion, national origin, disability, age, sexual orientation, or socioeconomic status in the performance of
    their official duties.

    (4) A judge shall not make unnecessary court appointments. A judge shall exercise the power of
    appointment impartially and on the basis of merit. A judge shall avoid nepotism and favoritism. A judge
    shall not approve compensation of appointees above the reasonable value of services rendered.

    ADVISORY COMMITTEE COMMENTARY

    Appointees of a judge include assigned counsel, officials such as referees, commissioners, special
    masters, receivers, and guardians, and personnel such as clerks, secretaries, court reporters, court
    interpreters, and bailiffs. Consent by the parties to an
    appointment or an award of compensation does not relieve the judge of the obligation prescribed by
    Canon 3C(4).

    D. Disciplinary Responsibilities
    (1) Whenever a judge has reliable information that another judge has violated any provision of the Code
    of Judicial Ethics, the judge shall take or initiate appropriate corrective action, which may include
    reporting the violation to the appropriate authority.*

    (2) Whenever a judge has personal knowledge that a lawyer has violated any provision of the Rules of
    Professional Conduct, the judge shall take appropriate corrective action.

   ADVISORY COMMITTEE COMMENTARY
   Appropriate corrective action could include direct communication with the judge or lawyer who has
   committed the violation, other direct action if available, or a report of the violation to the presiding judge,
   appropriate authority, * or other agency or body. Judges should note that in addition to the action required
   by Canon 3D(2), California law imposes additional reporting requirements regarding lawyers.

    CANON 4

   A JUDGE SHALL SO CONDUCT THE JUDGE'S QUASI-JUDICIAL AND
   EXTRAJUDICIAL ACTIVITIES AS TO MINIMIZE THE RISK OF CONFLICT WITH
   JUDICIAL OBLIGATIONS

   A. Extrajudicial Activities in General

   A judge shall conduct all of the judge's extrajudicial activities so that they do not

   (1) cast reasonable doubt on the judge's capacity to act impartially;

   (2) demean the judicial office; or

   (3) interfere with the proper performance of judicial duties.




                                                 Judicial Arbitration 17
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 49 of 52 Page ID #:54




    ADVISORY COMMITTEE COMMENTARY

    Complete separation of a judge from extrajudicial activities is neither possible nor wise; a judge should
    not become isolated from the community in which the judge lives.

    Expressions of bias or prejudice by a judge, even outside the judge's judicial activities, may cast
    reasonable doubt on the judge's capacity to act impartially as a judge. Expressions which may do so
    include jokes or other remarks demeaning individuals on the basis of a classification such as their race,
    sex, religion, sexual orientation, or national origin. See Canon 2C and accompanying Commentary.

    CANON 6

    COMPLIANCE WITH THE CODE OF JUDICIAL ETHICS

    A. Judges

    Anyone who is an officer of the state judicial system and who performs judicial functions,
    including, but not limited to, a subordinate judicial officer, magistrate, court-appointed arbitrator, judge of
    the State Bar Court, temporary judge, and special master, is a judge within the meaning of this Code. All
    judges shall comply with this Code except as provided below.

    ADVISORY COMMITTEE COMMENTARY

    For the purposes of this Canon, if a retired judge is serving in the assigned judges program, the judge is
     considered to "perform judicial functions." Because retired judges who are privately retained may perform
    judicial functions, their conduct while performing those functions should be guided by this Code.

    (Canon 6A amended effective January 1, 2005.)

    C. Retired Judge as Arbitrator or Mediator

    A retired judge serving in the assigned judges program is not required to comply with Canon 4F of this
    Code relating to serving as an arbitrator or mediator, or performing judicial functions in a private capacity,
    except as otherwise provided in the Standards and Guidelines for Judges Serving on Assignment
    promulgated by the Chief Justice.

    ADVISORY COMMITTEE COMMENTARY

   In California, article VI, section 6 of the California Constitution provides that a "retired judge who consents
   may be assigned to any court" by the Chief Justice. Retired judges who are serving in the assigned
   judges program pursuant to the above provision
    are bound by Canon 68, including the requirement of Canon 4G barring the practice of law. Other
   provisions of California law, and standards and guidelines for eligibility and service set by the Chief
   Justice, further define the limitations on who may serve on assignment.

    D. Temporary Judge*, Referee, or Court-appointed Arbitrator

    A temporary judge, a person serving as a referee pursuant to Code of Civil Procedure section 638 or 639,
    or a court-appointed arbitrator shall comply only with the following Code provisions:

   (1) A temporary judge, referee, or court-appointed arbitrator shall comply with Canons 1 [integrity and
   independence of the judiciary], 2A [promoting public confidence], 3B(3) [order and decorum] and (4)
   [patient, dignified, and courteous treatment], 3B(6) [require lawyers to refrain from manifestations of any
   form of bias or prejudice], 3D(1) [action regarding misconduct by another judge] and (2) [action regarding


                                                 Judicial Arbitration 18
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 50 of 52 Page ID #:55




    misconduct by a lawyer], when the temporary judge, referee, or court-appointed arbitrator is actually
    presiding in a proceeding or communicating with the parties, counsel, or court personnel while serving in
    the capacity of a temporary judge, referee, or court-appointed arbitrator in the case.

    (2) A temporary judge, referee, or court-appointed arbitrator shall, from the time of notice and acceptance
    of appointment until termination of the appointment:

       (a) Comply with Canons 2B(1) [not allow family or other relationships to influence judicial conduct],
       3B(1) [hear and decide all matters unless disqualified] and (2) [be faithful to and maintain competence
       in the law], 3B(5) [perform judicial duties without bias or prejudice], 3B(7) [accord full right to be heard
       to those entitled; avoid ex parte communications, except as specified] and (8) [dispose of matters
       fairly and promptly], 3C(1)[discharge administrative responsibilities without bias and with competence
       and cooperatively], (2) [require staff and personnel to observe standards of conduct and refrain from
       bias and prejudice] and (4) [make only fair, necessary, and appropriate appointments];

       (b) Not lend the prestige of judicial office to advance his, her, or another person's pecuniary or
       personal interests and not use his or her judicial title in any written communication intended to
       advance his, her, or another person's pecuniary or personal interests, except to show his, her, or
       another person's qualifications;

       (c) Not personally solicit memberships or donations for religious, fraternal, educational, civic, or
       charitable organizations from the parties and lawyers appearing before the temporary judge, referee,
       or court-appointed arbitrator;

       (d) Under no circumstance accept a gift, bequest, or favor if the donor is a party, person, or entity
       whose interests are reasonably likely to come before the temporary judge, referee, or court-appointed
       arbitrator. A temporary judge, referee, or court-appointed arbitrator shall discourage members of the
       judge's family residing in the judge's household from accepting benefits from parties who are
       reasonably likely to come before the temporary judge, referee, or court-appointed arbitrator.

   (5) A temporary judge, referee, or court-appointed arbitrator shall, from the time of notice and acceptance
   of appointment until termination of the appointment:

       (a) In all proceedings, disclose in writing or on the record information as required by law, or
       information that the parties or their lawyers might reasonably consider relevant to the question of
       disqualification under Canon 6D(3), including personal or professional relationships known to the
       temporary judge, referee, or court-appointed arbitrator that he or she or his or her law firm has had
       with a party, lawyer, or law firm in the current proceeding, even though the temporary judge
       concludes that there is no actual basis for disqualification; and

       (b) In all proceedings, disclose in writing or on the record membership of the temporary judge,
       referee, or court-appointed arbitrator, in any organization that practices invidious discrimination on the
       basis of race, sex, religion, national origin, or sexual orientation, except for membership in a religious
       or an official military organization of the United States and membership in a nonprofit youth
       organization so long as membership does not violate Canon 4A [conduct of extrajudicial activities].

   (6) A temporary judge, referee, or court-appointed arbitrator, from the time of notice and acceptance of
   appointment until the case is no longer pending in any court, shall not make any public comment about a
   pending or impending proceeding in which the temporary judge, referee, or court-appointed arbitrator has
   been engaged, and shall not make any nonpublic comment that might substantially interfere with such
   proceeding. The temporary judge, referee, or court-appointed arbitrator shall require similar abstention on
   the part of court personnel subject to his or her control. This Canon does not prohibit the following:

       (a) Statements made in the course of the official duties of the temporary judge, referee, or court-
       appointed arbitrator; and


                                               Judicial Arbitration 19
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 51 of 52 Page ID #:56




        (b) Explanations for public information about the procedures of the court.

    (7) From the time of appointment and continuing for two years after the case is no longer pending in any
    court, a temporary judge, referee, or court-appointed arbitrator shall under no circumstances accept a gift,
    bequest, or favor from a party, person, or entity whose interests have come before the temporary judge,
    referee, or court-appointed arbitrator in the matter. The temporary judge, referee, or court-appointed
    arbitrator shall discourage family members residing in the household of the temporary judge, referee, or
    court-appointed arbitrator from accepting any benefits from such parties, persons or entities during the
    time period stated in this subdivision. The demand for or receipt by a temporary judge, referee, or court-
    appointed arbitrator of a fee for his or her services rendered or to be rendered shall not be a violation of
    this Canon.

    (8) A temporary judge, referee, or court-appointed arbitrator shall, from time of notice and acceptance of
    appointment and continuing indefinitely after the termination of the appointment:

        (a) Comply with Canons 3(B)(11) [no disclosure of nonpublic information acquired in a judicial
        capacity] (except as required by law); and

        (b) Not commend or criticize jurors sitting in a proceeding before the temporary judge, referee, or
        court-appointed arbitrator for their verdict other than in a court order or opinion in such proceeding,
        but may express appreciation to jurors for their service to the judicial system and the community.

   (10) A temporary judge, referee, or court-appointed arbitrator shall comply with Canon 6D(2) until the
   appointment has been terminated formally or until there is no reasonable probability that the temporary
   judge, referee, or court-appointed arbitrator will further participate in the matter. A rebuttable presumption
   that the appointment has been formally terminated shall arise if, within one year from the appointment or
   from the date of the last hearing scheduled in the matter, whichever is later, neither the appointing court
   nor counsel for any party in the matter has informed the temporary judge, referee, or court-appointed
   arbitrator that the appointment remains in effect.

   (11) A lawyer who has been a temporary judge, referee, or court-appointed arbitrator in a matter shall not
   accept any representation relating to the matter without the informed written consent of all parties.

   (12) When by reason of serving as a temporary judge, referee, or court-appointed arbitrator in a matter,
   he or she has received confidential information from a party, the person shall not, without the informed
   written consent of the party, accept employment in another matter in which the confidential information is
   material.

   ADVISORY COMMITTEE COMMENTARY

   Any exceptions to the Canons do not excuse a judicial officer's separate statutory duty to disclose
   information that may result in the judicial officer's recusal or disqualification.

   (Canon 6D amended effective January 1, 2007; adopted effective January 15, 1996; previously amended
   effective April 15, 1996, March 4, 1999 and July 1, 2006.)
   E. Judicial Candidate

   A candidate* for judicial office shall comply with the provisions of Canon 5.




                                                Judicial Arbitration 20
Case 8:22-cv-01091-DOC-KES Document 1-1 Filed 06/01/22 Page 52 of 52 Page ID #:57




    F. Time for Compliance

    A person to whom this Code becomes applicable shall comply immediately with all provisions of this Code
    except Canons 4D(2) and 4F and shall comply with these Canons as soon as reasonably possible and
    shall do so in any event within a period of one year.

    ADVISORY COMMITTEE COMMENTARY

    If serving as a fiduciary* when selected as a judge, a new judge may, notwithstanding the prohibitions in
    Canon 4F, continue to serve as fiduciary" but only for that period of time necessary to avoid adverse
    consequences to the beneficiary of the fiduciary relationship and in no event longer than one year.
    Similarly, if engaged at the time of judicial selection in a business activity, a new judge may,
    notwithstanding the prohibitions in Canon 4D(2), continue in that activity for a reasonable period but in no
    event longer than one year.

    (Canon 6G repealed effective June 1, 2005; adopted December 30, 2002.)




                                                Judicial Arbitration 21
